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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


IN RE RANBAXY GENERIC DRUG
                                                          MDL No. 2878
APPLICATION ANTITRUST LITIGATION

THIS DOCUMENT RELATES TO:

Meijer, Inc., et al. v. Ranbaxy, Inc., et al.,
No 15-cv-11828 (D. Mass.)
                                                 Master File No. 19-md-02878-NMG
Meijer, Inc., et al. v. Ranbaxy, Inc., et al.,
No 18-cv-12129 (D. Mass.)
Cesar Castillo, Inc. v. Ranbaxy, Inc., et al.,
No. 18-cv-06126 (E.D.N.Y.)


   CONSOLIDATED DIRECT PURCHASER COMPLAINT AND JURY DEMAND
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                                    I.      INTRODUCTION

       1.      Over the past 30 years, the generic drug industry has made enormous progress in

gaining widespread acceptance for their generally safe, effective, and affordable

pharmaceuticals. The Food and Drug Administration (“FDA”) imposes on all drug makers –

whether for branded or generic products – intense regulatory review, requiring compliance with

the same standards for current good manufacturing practices (“cGMP”) to ensure that drug

products are consistent in quality, stability, and reliability. Today, most of the drugs taken by

U.S. consumers (4 in every 5 prescriptions) are generic drugs. Scores of global generic drug

manufacturers take seriously the need to comply with FDA reporting and manufacturing

practices. So American consumers can generally be assured that the generic products sold in the

United States will provide the same level of therapeutic clinical results, consistency, and quality

as branded drugs.

       2.      Against this backdrop of reliable generic drug manufacturing there is one clear

exception: rogue generic drug maker Ranbaxy Laboratories. This case is about how Ranbaxy

recklessly stuffed the generic drug approval queues with grossly inadequate applications,

deceived the FDA into granting tentative approvals to lock in statutory exclusivities to which

Ranbaxy was not entitled, and brandished these undeserved exclusivities to exclude others while

its own applications floundered, all at the direct expense of U.S. drug purchasers.

       3.      It is one thing for a corrupt company to run its affairs so poorly that it is unable to

make, and document, a minimally acceptable product, thus hurting its own sales and

profitability. But it is quite another thing for that company to recklessly and fraudulently bog

down the FDA generic approval process, wrongfully acquire the ability to preclude or stall the

efforts of other generic companies that are responsibly seeking to enter U.S. markets, and delay



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generic entry while it struggles to get its own act together. When that happens, the harm is

visited directly and only on U.S. drug purchasers.

       4.      In the early 2000s, Ranbaxy embraced an internal corporate culture displaying

utter disregard for regulatory requirements, truthful reporting, and responsible business behavior.

To meet management’s unrealistic expectations, employees often forged test results, changed

data, and retroactively created documentation. They performed stability tests (important for

establishing a drug’s expiration date) on the same day, instead of at 3-, 6-, and 9-month intervals

as required by regulations. And they performed bioequivalence and stability tests on research-

and-development batches of drugs, instead of exhibit batches as the regulations required (exhibit

batches take longer, and cost more, to produce).

       5.      Ranbaxy exploited these shortcuts to achieve its objective: filing as many

abbreviated new drug applications (“ANDAs”) as possible, especially if it could secure valuable

first-to-file generic status and the lucrative 180-day exclusivity that came with it. Ranbaxy

generated enough documentation – real or forged – to support these quick filings. Ranbaxy

convinced unknowing regulators reviewing these applications that Ranbaxy’s facilities and

procedures were (or would be soon) in compliance, when in fact the facilities would remain in

shameful condition for years. Ranbaxy did so with little regard for whether it would be able to

promptly bring the generic drug to market. So long as Ranbaxy could secure the coveted first-to-

file exclusivity position, it could profit off these undeserved regulatory exclusivities, regardless

of whether Ranbaxy itself could eventually get its own product to market in any timely way, if at

all.

       6.      Eventually, Ranbaxy resorted to misleading the FDA into granting it tentative

approval for several of these hastily prepared, first-to-file ANDAs, a regulatory decision that



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served to lock in Ranbaxy’s ability to block or delay the entrance of other generic makers into

the applicable market. Among other things, in 2007 and again 2008 Ranbaxy misleadingly

represented to the FDA that the condition of Ranbaxy’s cGMP (i.e., its current good

manufacturing practices) at its Paonta Sahib, India plant was (or as a practical matter soon would

be) in compliance with FDA requirements. In fact, those conditions were so poor that Ranbaxy

could not fix them for more than eight years (and Ranbaxy remains out of compliance to this

day). But it took years for the FDA to untangle Ranbaxy’s web of lies. As each of the many

ANDAs Ranbaxy had filed came up for review, Ranbaxy’s overall course of conduct continually

mucked up the FDA approval process, not only for the pending Ranbaxy ANDAs, but also for

each of the would-be generic makers seeking to enter that particular generic drug market.

       7.      Over the years, Ranbaxy dragged out discussions with FDA concerning remedial

efforts that Ranbaxy was purportedly undertaking. And, working with its outside lawyers and

purportedly “independent” (but in reality Ranbaxy-controlled) consultant, deflected the ability of

the FDA to act on Ranbaxy’s pending ANDAs in the ordinary course. In 2012, the FDA was

finally able to get a consent decree in place to address some of Ranbaxy’s regulatory compliance

issues. And in 2013, the Department of Justice was able to impose a criminal fine and civil

penalty of $500 million addressing some of Ranbaxy’s past transgressions. But even these

efforts did not solve all of Ranbaxy’s many problems, and product recalls continued to plague

the company.

       8.      In 2014, after spending years trying to untangle Ranbaxy’s deceptions and ensure

that its operations were sufficient to produce safe drugs, the FDA realized that Ranbaxy’s first-

to-file status was blocking other generic drug makers from coming to market. The FDA revoked




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tentative approvals that Ranbaxy had fraudulently obtained, finally allowing more affordable –

and safer – generic alternatives to come to market.

       9.      This lawsuit seeks monetary relief on behalf of all direct purchasers of drugs for

which generic entry was delayed in substantial part by Ranbaxy’s wrongful acquisition and

maintenance of 180-day exclusivities, its business conduct that ultimately required it be subject

to a consent decree, and its preclusion of other generic entrants while it floundered to get its own

applications approved. At this time, this action pleads with particularity that (i) the direct

purchasers of the brand drug Valcyte (valganciclovir hydrochloride) and its A/B-rated generic

equivalents overpaid for that product because Ranbaxy’s wrongful conduct delayed the generic

entry for valganciclovir hydrochloride at least between March 15, 2013, and November 20, 2014,

(ii) the direct purchasers of the brand drug Diovan (valsartan) and it’s A/B-rated generic

equivalents overpaid for the product because Ranbaxy’s wrongful conduct delayed the generic

entry for valsartan at least between September 21, 2012, and July 7, 2014, and (iii) the direct

purchasers of the brand drug Nexium (esomeprazole magnesium) and it’s a A/B-rated generic

equivalents overpaid for that product because Ranbaxy’s wrongful conduct delayed the generic

entry for esomeprazole magnesium at least between May 27, 2014 and January 26, 2015.

Discovery may determine that Ranbaxy’s scheme delayed other generic products.

       10.     Relief is grounded in federal antitrust and racketeering law.

       11.     First, direct purchasers seek relief under federal antitrust law. For at least three

drugs (valganciclovir hydrochloride, valsartan, and esomeprazole magnesium), Ranbaxy

wrongfully obtained, fraudulently locked-in, and then abused the first-to-file, 180-day

exclusivity period. By fraudulently acquiring and later using these exclusivities to exclude other

would-be generics, Ranbaxy acquired and misused market power with respect to at least these



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three drugs, causing prices for these products to remain at supra-competitive levels, and resulting

in direct purchasers paying far more for these drugs than they otherwise would have. Ranbaxy’s

conduct violated section 2 of the Sherman Act and is civilly actionable under the Clayton Act.

       12.     Second, direct purchasers seek relief under the federal Racketeer Influenced and

Corrupt Organizations Act (“RICO”). Ranbaxy effectuated its fraudulent scheme, the “Ranbaxy

ANDA Enterprise,” only through the knowing assistance of others, including a group of lawyers

(to shield otherwise routine quality control documentation from FDA scrutiny) and a purportedly

independent regulatory consultant (to give an untrue air of prompt action and truthful reporting).

By means of a pattern of repeated mail and wire fraud through these enterprises, for at least three

drugs (valganciclovir hydrochloride, valsartan, and esomeprazole magnesium) Ranbaxy

wrongfully obtained, fraudulently locked-in, and used the first-to-file, 180-day exclusivity

period. By fraudulently acquiring and later using wrongfully acquired first-to-file exclusivities

for these products, Ranbaxy caused prices for these products to remain at supra-competitive

levels, directly causing U.S. drug purchasers to pay far more for these products than they

otherwise would have. Ranbaxy’s conduct violated sections 1962(c) and (d) of RICO, and is

civilly actionable under section 1964 of that law.

                                        II.     PARTIES

       13.     Plaintiffs Meijer, Inc. and Meijer Distribution, Inc., (collectively, “Meijer”) are

corporations organized under the laws of the state of Michigan, with their principal place of

business located at 2929 Walker Avenue, NW, Grand Rapids, Michigan 49544. Meijer is the

assignee of the claims of Frank W. Kerr Co., and McKesson Corporation which, during the

relevant period, purchased Valcyte, Diovan, and/or Nexium directly from its manufacturer, and

resold those drugs to Meijer. Meijer also directly purchased generic Nexium (esomeprazole

magnesium) and Diovan (valsartan) from the drugs’ manufacturers during the relevant period.
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Meijer suffered and continues to suffer antitrust injury as a result of defendants’ unlawful

conduct.

       14.        Plaintiff César Castillo Inc. (“CCI”) is a corporation organized under the laws of

the Commonwealth of Puerto Rico, with its principal place of business and headquarters located

at Bo. Quebradas Arena, Rd. #1 Km. 26.0, Rio Piedras, Puerto Rico, 00926. During the class

period, CCI purchased brand Diovan, Valcyte and Nexium directly from the manufacturers and

also purchased generic Diovan (valsartan) and Nexium (esomeprazole magnesium). CCI

suffered and continues to suffer antitrust injury as a result of defendants’ unlawful conduct.

       15.        Meijer and CCI are sometimes collectively referred to herein as the plaintiffs or

the purchasers.

       16.        Defendant Ranbaxy Laboratories Limited (“Ranbaxy Labs”) was a corporation

that, until March 25, 2015, was organized and existed under the laws of India, with a principal

place of business located at Plot 90, Sector 32, Gurgaon -122001 (Haryana), India. Ranbaxy

Labs was the parent company to the entire Ranbaxy business empire, which was, until March

2015, the largest generic drug manufacturer in India. It controlled manufacturing, research, and

development, as well as the conduct and functioning of its Indian-based facilities, including a

facility located at Paonta Sahib, India.

       17.        Defendant Ranbaxy, Inc. is a corporation that is organized and exists under the

laws of the State of Delaware, and has a place of business located at 600 College Road East,

Princeton, New Jersey, 08540. Ranbaxy Inc. was responsible for (a) communications with the

FDA on behalf of Ranbaxy Labs and its related entities; (b) prosecution of ANDAs on behalf of

Ranbaxy Labs; and (c) management of U.S. litigation on behalf of Ranbaxy Labs and its related




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entities. At all relevant times, Ranbaxy, Inc. acted in its own right and as an agent of defendant

Ranbaxy Labs.

       18.     Defendant Ranbaxy USA Inc. (“Ranbaxy USA”), was a corporation that, until

October 24, 2014, was organized and existed under the laws of Florida, and had a principal place

of business located at 9431 Florida Mining Boulevard E, Jacksonville, FL 32257. Ranbaxy USA

was a wholly-owned subsidiary of Ranbaxy, Inc. Ranbaxy USA was responsible for the

distribution of Ranbaxy Lab’s generic drug products in interstate commerce. In 2013, Ranbaxy

USA pleaded guilty to making false claims to the U.S. government, and to introducing

adulterated drugs into interstate commerce. On June 3, 2014, Ranbaxy Inc. authorized the

dissolution of Ranbaxy USA, and this dissolution became effective October 24, 2014. At all

relevant times, Ranbaxy USA acted in its own right and as an agent of Ranbaxy Labs.

       19.     Herein, “Ranbaxy” refers to Defendants Ranbaxy Labs, Ranbaxy Inc., and

Ranbaxy USA, collectively.

       20.     Defendant Sun Pharmaceutical Industries Limited (“Sun Pharma”) is a public

limited company incorporated under the laws of India with its registered office at Sun Pharma

Advanced Research Centre (SPARC), Tandalja, Vadodara – 390 020, Gujarat, India, and its

corporate office is at Acme Plaza, Andheri Kurla Road, Andheri (East), Mumbai – 400 059,

Maharashtra, India. Sun Pharma is an international, integrated, specialty pharmaceutical

company. Pursuant to a Scheme of Arrangement between Ranbaxy Labs and Sun Pharm

approved by the two companies’ boards on April 6, 2014, and completed on or about March 25,

2015, Ranbaxy Labs was merged into Sun Pharma, and all liabilities of Ranbaxy Labs, including

contingent liabilities, have been transferred to and vested in Sun Pharma.




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                             III.    JURISDICTION AND VENUE

       21.     This action arises under section 2 of the Sherman Act, 15 U.S.C. § 2, section 4 of

the Clayton Act, 15 U.S.C. § 15(a), and the Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C. §§ 1962(c) and (d) and 1964. The purchasers seek damages for their injuries, and

those suffered by members of the Direct Purchaser Class, resulting from the defendants’

fraudulent and anticompetitive conduct that delayed the entry of generic drugs into the U.S.

market. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331(federal question),

1332 (diversity due to a qualifying class action) and 1337(a) (antitrust), 15 U.S.C. § 15

(antitrust), and 18 U.S.C. § 1964(c) (RICO).

       22.     The defendants transact business within this district, and they transact their affairs

and carry out interstate trade and commerce, in substantial part, in this district and/or have an

agent and/or can be found in this district. Venue is appropriate within this district under section

12 of the Clayton Act, 15 U.S.C. § 22 (nationwide venue for antitrust matters), under RICO, 18

U.S.C. § 1965(a), and under 28 U.S.C. §1391(b) and (c) (general venue provisions).

                           IV.      REGULATORY BACKGROUND

A.     The Competitive Effects of AB-Rated Generic Competition

       23.     Generic versions of brand name drugs contain the same active ingredient, and are

determined by the FDA to be just as safe and effective, as their brand name counterparts.

Generic drugs meeting these standards receive an “AB rating.” The only material difference

between generic drugs and their corresponding brand name versions is their price. Because

generic versions of a corresponding brand drug product are commodities that cannot be

differentiated, the primary basis for generic competition is price.

       24.     Typically, generics are at least 25% less expensive than their brand name

counterparts when there is a single generic competitor. And this discount often reaches 50% to

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80% (or more) when multiple generic competitors are on the market for a given brand.

Consequently, the launch of a generic drug usually results in significant cost savings to all drug

purchasers.

       25.     Every state has adopted substitution laws that either require or permit pharmacies

to substitute AB-rated generic equivalents when filling prescriptions for the brand (unless the

prescribing physician has specifically directed otherwise). Substitution laws and other

institutional features of pharmaceutical distribution and use create a simple economic dynamic:

the launch of AB-rated generics results both in rapid price decline and rapid sales shift from

brand to generic purchasing.

       26.     Once a generic equivalent hits the market, it quickly captures sales of the

corresponding brand drug, often capturing 80% or more of the market within the first six months.

This results in a loss of revenue for the brand drug company, but dramatic savings for the

American public. In a recent study, the Federal Trade Commission (“FTC”) found that on

average, within a year of generic entry, generics had captured 90% of corresponding brand drug

sales and (with multiple generics on the market) prices had dropped 85%. As a result,

competition from generic drugs is viewed by brand name drug companies as a grave threat to

their bottom lines.

       27.     Until a generic version of the brand drug enters the market, however, there is no

bioequivalent generic drug to substitute for and compete with the brand drug. The brand

manufacturer can continue to profitably charge supra-competitive prices. Brand manufacturers

are well aware of generics’ rapid erosion of their brand sales, and seek to extend their monopoly

for as long as possible, often resorting to any means possible.




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          1.       The first AB-rated generic is priced below the brand

          28.      Experience and economic research show that the first generic manufacturer to

launch sets its prices below the prices of its branded counterpart. The substitution laws almost

always result in the first generic manufacturer capturing a large share of sales from the branded

form of the molecule. This leads to a reduction in the average price paid for a prescription for

the molecule.

          29.      As explained in more detail below, under certain circumstances, the first generic

manufacturer is eligible to receive 180 days of market exclusivity. This means that subsequent

generic ANDA filers cannot launch their generic products for at least six months after the first

generic – known as the “first filer” – launches its product.

          30.      During the exclusivity period, the first filer is the only ANDA-approved generic

manufacturer on the market. As recognized by the Supreme Court, it is often the case that most

of a first filer’s profits with respect to an ANDA product are earned during the exclusivity

period.1

          31.      If the only versions of a drug on the market are the brand and the first filer’s

product, then the first filer prices its product below the brand product, but not as low as if it were

facing competition from other generics. When the first filer’s product competes only with the

brand, the brand company rarely drops the brand price to match the first filer, so the first filer

typically captures an overwhelming majority of unit sales while offering only a relatively modest

discount off the price of the brand.




1
    See F.T.C. v. Actavis, Inc., 570 U.S. ---, 133 S. Ct. 2223, 2229 (2013).

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       2.      Later generics drive prices down further

       32.     Once multiple generic competitors enter the market, competition accelerates and

prices drop to their lowest levels. Multiple generic sellers typically compete vigorously with

each other over price, driving prices down toward marginal manufacturing costs.

       33.     According to the FDA and the FTC, the greatest price reductions are experienced

when the number of generic competitors goes from one to two. In that situation, there are two

commodities that compete on price. Some typical estimates are that a single generic launch

results in a near-term retail price reduction of at least 10%, but that with two generic entrants,

near-term retail price reduction reaches about 50%.

       34.     Soon after generic competition begins, the vast majority of the sales formerly

enjoyed by the brand shifts to generic sellers. In the end, total payments to the brand

manufacturer of the drug decline to a small fraction of the amounts paid before generic entry.

According to the Congressional Budget Office, generic drugs save consumers an estimated $8

billion to $10 billion a year at retail pharmacies. Even more billions of dollars are saved when

hospitals use generics.

B.     The Regulatory Structure for Approval of New Drugs

       1.      The Food, Drug and Cosmetic Act

       35.     Before being sold in the United States, a prescription drug must be proven safe

and effective for its intended use. The Food, Drug and Cosmetic Act (“FDCA”) requires a drug

manufacturer to prove that its drugs are manufactured using known, safe, and sterile procedures,

and that its drugs are pure and have a stable shelf life. Drug manufacturers must maintain

meticulous written records of the manufacturing process to ensure safety and compliance. The

FDA is the federal agency charged with monitoring compliance with the FDCA and ensuring

that only safe drugs get to market

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           36.     Manufacturers that create a new drug product (commonly referred to as a “brand”

or “innovator” product) seek approval from the FDA to sell the new drug by filing a New Drug

Application (“NDA”).2 The information needed in an acceptable NDA encompasses three areas:

(i) it must include adequate, well-controlled clinical studies supporting the drug’s safety and

efficacy, (ii) it must show that the testing, manufacturing processes, and reporting complies with

cGMP,3 and (iii) it must show that the labeling proposed to accompany the drug is scientifically

accurate and adequately describes the drug’s indications, risks, and benefits. Because the timing

of the FDA’s ability to approve a drug product often dovetails with various patent filing

requirements (soon to be discussed), the NDA applicant must also supply a list of applicable

patents.

           2.      Patent protection for blockbuster drugs

           37.     Brand drug companies develop their patent portfolios for blockbuster drugs in a

predictable pattern. The first group of patents usually covers the active compound in a

prescription drug or a particular pharmaceutical composition and may be robust.

           38.     As the brand company’s research matures, the patent filings continue, often for

narrow modifications relating to specific formulations, methods of using the drug, or processes

for creating the drug product disclosed in the original patent filings. But the original patent

filings are now in the “prior art” and thus limit the scope of follow-on patents that can be

obtained. Over time, as the number of patent filings for the drug grows, so too does the brand

company’s difficulty in obtaining valid, enforceable patents.




2
    21 U.S.C. §§ 301-392.
3
  21 U.S.C. § 355(b)(1)(D) (requiring “a full description of the methods used in, and the facilities and controls used
for, the manufacture, processing, and packing” of the drug).

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         39.   Patents present, at minimum, obstacles for would-be generic competitors to

design around. Patents broadly covering a drug’s active ingredient – if valid and enforceable –

may prove impossible to design around while meeting the FDA’s criteria for equivalence. But

later patents covering only a particular formulation or release profile, for example, may be more

easily designed around.

         40.   Therefore, a typical patent portfolio for a brand drug has its most significant

patents issuing first; over time, the later-issued patents generally become increasingly narrow

and more difficult to obtain and enforce. But brand and generic companies use these later,

weaker patents as a pretext for litigation settlements, delaying generic entry beyond the

legitimate period of patent protection. Such settlements are anti-competitive, with the brand

companies enjoying unlawfully extended monopoly profits, generic companies receiving

substantial payments for delaying entry, and consumers paying substantially more.

C.       The Hatch-Waxman Amendments

         41.   Between 1962 and 1984, companies wishing to manufacture generic versions of

already-approved drugs had to follow the same steps as an applicant filing an NDA, including

conducting clinical trials to establish safety and efficacy. This requirement imposed an onerous

burden and significant expense on generic drug companies. And it delayed approval of generic

drugs, or deterred companies from even seeking to manufacture generic drugs. This deprived the

American public of the benefits of generic competition – safe and effective drugs at reduced

costs.

         42.   In 1984, Congress passed the Hatch-Waxman Amendments to the FDCA. The

Hatch-Waxman Amendments were designed to speed the introduction of low-cost generic drugs

to market by permitting generic manufacturers to file ANDAs relying on the scientific findings

of safety and efficacy included in the brand drug manufacturer’s original NDA. The generic
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manufacturer simply needs to show that the generic drug is pharmaceutically equivalent and

bioequivalent (together, “therapeutically equivalent”) to the brand name drug. The premise –

codified by Congress and implemented by the FDA for the past thirty years – is that two drug

products containing the same active pharmaceutical ingredient, in the same dose, delivered in the

same way, and absorbed into the blood stream at a similar rate over a similar period of time, are

expected to be equally safe and effective.

       43.     At the same time, the Hatch-Waxman Amendments also sought to protect

pharmaceutical companies’ incentives to create new and innovative products by, among other

things, permitting a brand company to file a legitimate patent infringement lawsuit against a

generic before the generic actually brings its product to market.

       44.     The Hatch-Waxman Amendments achieved both goals, substantially advancing

the rate of generic product launches, and ushering in an era of historically high profit margins for

brand name pharmaceutical companies. In 1983, before the Hatch-Waxman Amendments, only

35% of the top-selling drugs with expired patents had generic alternatives; by 1998, nearly all

did. In 1984, prescription drug revenue for branded and generic drugs totaled $21.6 billion, with

generic drugs accounting for 18.6% of prescriptions. By 2013, total annual prescription drug

revenue had soared to over $329 billion, with generic drugs accounting for 84% of prescriptions.

D.     ANDA Approval Process

       1.      Step One: Receipt of a substantially complete ANDA

       45.     Receipt of an ANDA marks the first step in a complex process involving reviews

of the generic drug manufacturer’s application by many disciplines within the FDA. These

reviews include bioequivalence, chemistry, labeling, and manufacturing. Multiple “review

cycles” by the Office of Generic Drugs (“OGD”), the generic application approval arm of the



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FDA’s Center for Drug Evaluation and Research (“CDER”), are often required before an

application may be deemed ready for approval.

           46.      Once an applicant files an ANDA, the FDA must determine whether it contains

the information required under 21 U.S.C. § 355(j)(2)(A), such that it may be “received.” In

order for the FDA to accept “receipt” of an ANDA, it must make a threshold determination that

the abbreviated application is sufficiently complete to permit a substantive review.4 In order to

be substantially complete, an ANDA must “on its face [be] sufficiently complete to permit a

substantive review and contain[] all the information required by paragraph (2)(A).”5

                    a)          Scientific Contents

           47.      The Hatch-Waxman Amendments relieved generic drug manufacturers of the cost

and burden of conducting clinical trials in order to demonstrate the safety and effectiveness of

their generic drugs. Instead, a generic drug company may rely on the clinical trials performed by

the branded drug company, so long as it makes three key showings.

           48.      First, an ANDA must demonstrate that the generic drug contains the same active

ingredient(s), dosage form, route of administration, and strength as the brand name drug – that is,

that the generic drug is bioequivalent to the brand name drug.

           49.      Second, it must demonstrate that the generic manufacturer can reliably

manufacture a safe, stable drug product.6

           50.      Third, an ANDA must contain information demonstrating compliance with

cGMP. These procedures require, inter alia: detailed, written steps describing the receipt,


4
 21 C.F.R. § 314.101(b)(1); see also 21 U.S.C. § 355(j)(5)(B)(iv)(II)(cc) (an ANDA is “substantially complete” if,
on its face, it “is sufficiently complete to permit a substantive review and contains all the information required by
paragraphs (2)(A).”).
5
    21 U.S.C. § 355(j)(5)(B)(iv)(II)(cc).
6
    21 U.S.C. § 355(j)(2)(A).

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identification, storage, handling, sampling, and testing of drug products;7 testing to ensure the

identity, purity, strength, and quality of the drug;8 and regular stability testing of the products.9

           51.      The FDA may not approve a drug for sale if “the methods used in, or the facilities

and controls used for, the manufacture, processing, and packing of the drug are inadequate to

assure and preserve its identity, strength, quality, and purity.”10 A manufacturer may not sell a

drug if:

                    [t]he methods used in, or the facilities and controls used for, its
                    manufacture, processing, packing, or holding do not conform to or
                    are not operated or administered in conformity with current good
                    manufacturing practice to assure that such drug meets the
                    requirements of [the FDCA] as to safety and has the identity and
                    strength, and meets the quality and purity characteristics, which it
                    purports or is represented to possess.11

The Office of Compliance (“OC”), a division of CDER, is charged with ensuring that a

manufacturer complies with FDA regulations, including those related to cGMP.

           52.      Stability testing is an integral component of cGMP. Tests typically performed at

extended intervals – for example, at 3, 6, and 9 months after a batch of the drug is manufactured

– determine how long the drug remains safe and effective for use, and dictate the expiration date

for the tested drug. The cGMP regulations require a drug manufacturer to develop, implement,

and follow a written testing program to assess the stability of each drug that it manufactures.

And the results of stability testing are used by the FDA in determining appropriate storage

conditions and expiration dates for a drug.




7
    21 C.F.R. §211.80(a).
8
    21 C.F.R. § 211.84(d)(1)-(2).
9
    21 C.F.R. § 211.166.
10
     21 U.S.C. § 335(j)(4)(A).
11
     21 U.S.C. §§ 331, 351(a)(2)(B); 21 C.F.R. Parts 210 and 211 (CGMP requirements for drugs).

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               b)      Intellectual Property Contents

       53.     To obtain FDA approval of an ANDA, a generic manufacturer must also certify

that the generic drug addressed in its ANDA will not infringe any valid patents covering the

brand version of the drug. An applicant can make one of four certifications:

       a.      that no patent for the brand name drug has been filed with the FDA;

       b.      that the patent for the brand name drug has expired;

       c.      that the patent for the brand name drug will expire on a particular date
               and the generic company does not seek to market its generic product
               before that date (a “Paragraph III certification”); or

       d.      that the patent for the brand name drug is invalid or will not be
               infringed by the generic manufacturer’s proposed product (a
               “Paragraph IV certification”).

       54.     If a generic manufacturer files a Paragraph IV certification, the brand name

manufacturer may initiate a patent infringement action. If that action is filed within 45 days of

receiving notification of the Paragraph IV certification (“Hatch-Waxman Litigation”), the FDA

will not grant final approval to the ANDA until the earlier of (a) the passage of 30 months

(commonly called the “30-month stay”), or (b) a final decision by a court that the patent is

invalid or not infringed by the generic manufacturer’s ANDA.

       55.     Hatch-Waxman litigations can, and often do, delay final approval of a generic

ANDA and, by extension, market entry of generic drugs. The high profit margins on brand name

drugs, and the predictable effects of generic entry – sales switch quickly from the brand to the

generic – virtually assure that a brand name manufacturer will sue the ANDA filer in order to

delay final FDA approval of an ANDA.




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                    c)       The Importance of Substantial Completeness: a first-to-file generic
                             company’s 180-day exclusivity

           56.      As an incentive to spur generic companies to bring generic alternatives to market,

the first generic manufacturer to file a substantially complete ANDA containing a Paragraph IV

certification gets a 180-day period of protection from competition with other ANDA-based

generic versions of the drug.12

           57.      This 180-day window is referred to as the first filer’s six-month or 180-day

“exclusivity.”13 The automatic substitution laws and the lack of other generic options allow this

first-filer to reap substantial profits during this period of exclusivity. The Supreme Court has

recognized that “this 180-day period of exclusivity can prove very valuable, possibly worth

several hundred million dollars”14 to the first filer.

           2.       Step Two: Tentative Approval

           58.      When an ANDA otherwise meets the substantive requirements for approval, but

cannot receive effective approval because of pending Hatch-Waxman litigation or some form of

exclusivity (i.e., a valid patent or marketing exclusivity granted by the FDA), the FDA may grant

the application “tentative approval.”15

           59.      To receive tentative approval, an ANDA must meet all of the requirements for

approval generally; that is, the only barrier to outright approval must be the pendency of




12
     21 U.S.C. § 355(j)(5)(B)(iv).
13
  The label is partially erroneous because, while later ANDA-approved generic makers must wait six months after
the first filer’s market entry to get FDA approval, a brand’s “authorized” generic, marketed under the authority of
the brand manufacturer’s NDA, may enter at any time.
14
   FTC v. Actavis, 133 S. Ct. 2223 (2013) (citation omitted). The 180-day period is even more valuable to the first
filer – likely far more than twice as valuable – if the brand does not launch an authorized generic. Without the
authorized generic, the first filer is left with all generic sales during the 180 day period -- and possibly beyond, if no
other generic is ready, willing or able to launch a generic pursuant to an approved ANDA after 180 days.
15
     21 U.S.C. § 355(j)(5)(B)(iv)(II)(dd)(AA); 21 C.F.R. § 314.107(b)(3)(v).

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litigation or an exclusivity period.16 Therefore, an ANDA may not receive tentative approval if,

for example, bioequivalence is not shown, or if cGMP compliance is not established.

           60.      An ANDA that has received tentative approval is not approved, and the drug may

not legally be marketed, until the FDA conducts any necessary additional review of the

application, confirms that the application continues to meet the standards for approval, and issues

a final approval letter.17

           61.      The Hatch-Waxman regulatory scheme was intended to incentivize early generic

entry to market. But brand and generic companies were, through collusive agreements and other

unlawful tactics, abusing this scheme. Recognizing that the Hatch-Waxman scheme imposed no

penalty on a first-to-file ANDA applicant that delayed coming to market, brand name companies

would simply pay generic companies to stay off the market. Generic companies holding first-to-

file exclusivity would leverage their first-to-file status into a large payment from the brand

company, often substantially delaying the timely appearance of generic drugs in the marketplace.

           62.      To prevent this abuse, Congress amended the FDCA, passing the Medicare

Prescription Drug, Improvement, and Modernization Act of 2003 (the “MMA”).18 The MMA

codified the FDA’s long-standing practice of issuing tentative approval for generic drugs

ensnared in litigation. And it enumerated conditions under which a first-to-file ANDA applicant

may forfeit its 180 days of exclusivity. Congress added these provisions in an effort to “ensure

that the 180-day exclusivity period enjoyed by the first generic to challenge a patent cannot be

used as a bottleneck to prevent additional generic competition.”19



16
     21 U.S.C. § 355(j)(5)(B)(iv)(dd)(AA).
17
     21 U.S.C. § 355(j)(5)(B)(iv)(II)(dd)(BB); 21 C.F.R. §§ 314,105(d), 314.107(b)(3)(v).
18
     Pub. L. No. 108-173, Stat. 2066 (Dec. 8, 2003).
19
     149 Cong. Rec. S15746 (daily ed. Nov. 24, 2003) (statement of Sen. Schumer).

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           63.      A first-to-file generic applicant forfeits its 180-day exclusivity if: (1) it fails

timely to market the drug; (2) it withdraws the ANDA, or the FDA constructively withdraws it

on the manufacturer’s behalf because “the application does not meet the requirements for

approval”; (3) it amends or withdraws its Paragraph IV certification; (4) it fails to obtain

tentative approval “within 30 months after the date on which the application is filed”;20 (5) it

enters into an anticompetitive agreement with another applicant; or (6) all valid patents over the

brand version of the drug expire.21

           64.      As a result of the MMA, to preserve its 180-day exclusivity period a generic

applicant must obtain at least tentative approval within 30 months of the date the ANDA was

filed.

           3.       Step Three: Final Approval

           65.      The FDCA states that the FDA “shall approve” an ANDA “unless” the agency

finds that one or more specified conditions are present.22 As with tentative approval, the FDA

cannot grant final approval if, inter alia, “the methods used in, or the facilities and controls used

for, the manufacture, processing, and packing of the drugs are inadequate to assure and preserve

its identity, strength, quality, and purity.”23




20
  A narrow exception to this condition exists where “the failure [to obtain tentative approval within 30 months] is
caused by a change in or a review of the requirements for approval of the application imposed after the date on
which the application is filed.” 21 U.S.C. § 355(j)(5)(D)(i)(IV).
21
     21 U.S.C. § 355(j)(5)(D)(i)(I)-(VI).
22
     21 U.S.C. § 355(j)(4).
23
     21 U.S.C. § 355(j)(4)(A).

                                                         20
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                                           V.      FACTS

A.     Ranbaxy develops a business model focused on first-to-file ANDAs.

       66.     Founded in 1961, Ranbaxy spent its early years as a manufacturer of bulk drug

ingredients. In the early 1990s, Ranbaxy shifted its focus to the development and sale of finished

generic products. Ranbaxy filed its first ANDA with the FDA in 1995, targeting the United

States as the source of its future revenue growth.

       67.     By the late 1990s or early 2000s, Ranbaxy had embarked on a high-growth

business strategy of filing with the FDA numerous falsely-documented applications for approval

of generic products. In just a few short years, Ranbaxy filed dozens of ANDAs, including many

for which it secured first-to-file status. The company attributed this rapid pace to its ability to

get an ANDA on file in just 12 months, while its competition often took 18 months or longer.

       68.      A key part of Ranbaxy’s strategy was to win the race of filing the first ANDA for

a high sales drug product, and to do so for as many ANDAs as possible. Doing so would enable

it to claim the coveted first-to-file, 180-day exclusivity for that product. Even if Ranbaxy could

not itself eventually get to market with its own generic product (because its manufacturing plants

might be woefully unable to produce acceptable generic products), Ranbaxy could leverage its

first-to-file status as a valuable bargaining chip with its brand and generic competitors.

       69.     Another part of Ranbaxy’s strategy was that Ranbaxy might eventually negotiate

patent “settlements” with brand companies. In reality, these were business deals under which

Ranbaxy and a brand company would log jam the ability of other generics to enter the market (in

exchange for the brand company paying Ranbaxy in some valuable way). Or Ranbaxy might

turn to its generic competitors, and agree to free-up the log jam in exchange for a piece of a

generic competitor’s sales and/or an up-front payment. Or Ranbaxy might stubbornly hold onto

its bottlenecking 180-day exclusivity, allowing the brand company to reap huge profits during a

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lengthy period of stalled generic entry while Ranbaxy might (in vain) try to get its own act

together for its own ANDA-approved product.

        70.    Of course, the race to acquire first-to-file status is not unique to Ranbaxy. Many

generic makers seek to be the first ANDA filer for a large product market. But among generic

drug makers, Ranbaxy stands out as one willing to intentionally deceive the FDA in order to win

that race.

        71.    The speed and volume Ranbaxy’s numerous filings came at the expense of

truthfulness and accuracy. Unbeknownst to the FDA, for years Ranbaxy had been cutting

corners, making submissions based on false, fraudulent, and forged data. Ranbaxy knew that its

numerous ANDA filings often included false or misleading reports of product tests, and that its

current manufacturing processes could not make consistent generic products meeting required

specifications. And Ranbaxy knew that these deficiencies could impact its ability to successfully

bring many of these drugs to market.

        72.    Meanwhile, Ranbaxy publicly touted its huge application numbers, the size of the

markets into which those products might eventually enter, and its ability to secure the coveted

first-to-file 180-day exclusivity for many high-sales drugs. Ranbaxy used its ANDA filing

machine to promise huge future returns, and (as was hoped) Ranbaxy’s stock skyrocketed on

India’s two leading stock exchanges, the Bombay Stock Exchange (BSE) and National Stock

Exchange (NSE).

        73.    By 2002, Ranbaxy’s ANDA filings had proliferated. It filed 23 ANDAs with the

FDA that year, the most in company history. Its CEO at the time credited Ranbaxy’s low

research and development and manufacturing costs as the primary basis for its impressive drug

pipeline. Publicly, Ranbaxy portrayed an image of the good corporate citizen, concerned with



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ensuring compliance with important governmental safety and efficacy laws and regulations. But

internally, the company’s singular focus on the bottom line had resulted in lax regulatory

compliance and virtually non-existent manufacturing and testing standards. Management would

dictate the test results that it wanted to see and expected employees to return data supporting that

outcome. Oftentimes, such data had to be fabricated to satisfy management.

         74.      In 2003 Ranbaxy’s U.S. revenue had climbed to $412 million (up from $296

million in 2002), and it became one of the top 10 generic drug makers in the United States. The

company filed an additional 26 ANDAs in 2003.

         75.      By 2004, Ranbaxy was approaching $1 billion in revenues, making it India’s

largest generic pharmaceutical company. The U.S. market was Ranbaxy’s largest, delivering

more than 36% of all sales. During that year, the company filed another 26 ANDAs.

         76.      Included among these was a first-to-file ANDA for tamsulosin hydrochloride,

sold under the brand name Flomax (the “Flomax ANDA”), which Ranbaxy filed on December

20, 2004.24 As described in greater detail below, Ranbaxy’s profit-driven focus lead it to deceive

the FDA to obtain tentative approval of that ANDA, setting off a pattern of deceit and resulting

in multiple tentative approvals to which it was not entitled.

         77.      Four days later, on December 24, 2004, Ranbaxy Inc. filed the first substantially

complete ANDA for valsartan tablets, sold under the brand name Diovan (the “Diovan

ANDA”).25 Ranbaxy’s original Diovan ANDA contained a Paragraph III certification with

respect to one of the listed patents, and a Paragraph IV certification with respect to another.




24
  By 2007, Flomax was a $1.2 billion a year drug. To preserve its lucrative first-to-file status, Ranbaxy needed to
secure tentative approval of the Flomax ANDA no later than June 20, 2007.
25
  Diovan had first been approved by the FDA for sale in the United States in 1998. By 2012, sales exceeded $1.9
billion, climbing to $2.1 billion in 2013. To preserve its first-to-file exclusivity, Ranbaxy needed to obtain at least

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         78.      Including the Flomax and Diovan ANDAs, by the end of 2004, Ranbaxy had fifty

pending ANDAs before the FDA.

         79.      In 2005, Ranbaxy’s revenues surpassed $1 billion, with $328 million generated in

the U.S. alone. It continued apace in its ANDA filings, filing 26 new ANDAs.

         80.      Among the first-to-file ANDAs submitted by Ranbaxy Inc. in 2005 was one for

valganciclovir hydrochloride tablets, sold under the brand name Valcyte (the “Valcyte

ANDA”),26 and one for esomeprazole magnesium, sold under the brand name Nexium (the

“Nexium ANDA”).27

         81.      By year end Ranbaxy had 59 pending ANDAs. Its annual report touted valuable

first-to-file status on 19 ANDAs.

B.       Ranbaxy puts profits ahead of compliance, repeatedly ignoring its internal troubles.

         82.      During these years of rapid growth and metastatic ANDA filings, Ranbaxy’s

internal troubles grew. Issues were brought to the attention of its highest officials, including the

board itself, yet left ignored.

         83.      For example, in 2003 an internal consultant determined that formalized training of

the sort required by cGMP was non-existent within the company, identifying numerous

discrepancies in the company’s drug testing data. Ranbaxy did not disclose this audit to

regulators. Nor did it take corrective action.



tentative approval by June 28, 2007, unless the failure to obtain tentative approval was caused by a change in or a
review of the requirements for approval of the application imposed after the date on which the application was filed.
26
  Valcyte was first approved by the FDA for sale in the United States in 2001. By 2012, sales exceeded $1.9
billion. The Valcyte ANDA was submitted dated December 22, 2005, and accepted for filing by the FDA on
December 27, 2005. To preserve its first-to-file exclusivity, Ranbaxy needed to secure at least tentative approval by
June 27, 2008.
27
  Nexium was first approved by the FDA for sale in the United States in 2001. The Nexium ANDA was accepted
for filing by the FDA on August 5, 2005. To preserve its first-to-file exclusivity, Ranbaxy needed to secure at least
tentative approval of its Nexium ANDA by February 5, 2008.

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       84.     A 2004 World Health Organization audit revealed stunning flaws in Ranbaxy’s

antiretroviral drugs being supplied to AIDS-ravaged countries in Africa.

       85.     And in late 2004, internal employee investigations brought a lengthy list of issues

to the attention of Ranbaxy Lab’s board of directors. The board was told that fraudulent testing

data underlay hundreds of regulatory filings:

       a.      Bioequivalence studies filed with regulatory authorities were based on
               formulations that differed from the approved formulation;
       b.      Bioequivalence data and stability studies submitted to regulators were falsified;
       c.      Bioequivalence studies for some generic filings were conducted on ground up
               batches of the brand-name drug, which was misrepresented as a formulation
               developed by Ranbaxy;
       d.      Bioequivalence and stability studies were conducted on small research and
               development batches, not exhibit batches (which were more expensive and time-
               consuming to produce);
       e.      Stability studies filed with regulators were based on formulations differing from
               that which was disclosed to the regulators;
       f.      Stability studies performed at one location were submitted as if they occurred at
               another location;
       g.      Individual dissolution values in stability studies were fabricated;
       h.      Stability shelf-life data was fabricated and submitted as part of Ranbaxy’s
               registration package;
       i.      Substandard active pharmaceutical ingredients (“API”) that failed testing and
               inspections was blended with good API in an effort to have the drug meet
               specification; and
       j.      Research, development, and commercial manufacturing of Ranbaxy’s generic
               drugs were not being done in accordance with cGMP as required by the FDA.

       86.     These findings were presented to Ranbaxy Lab’s board of directors in September

2004, and to the scientific sub-committee of the Board in December 2004. But the Board took

no steps to report these irregularities to governmental regulators. Nor did it alter the company’s

business practices.

       87.     In the spring of 2005, another auditor retained to review Ranbaxy’s

manufacturing facilities documented multiple cGMP compliance issues relating to process

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validation, equipment qualification, master production records, procedures, documentation

practices, and stability testing. The auditor provided a series of recommendations, warning

Ranbaxy that if the issues were not addressed, the FDA could take regulatory action against the

company, and offering to conduct training programs to assist Ranbaxy in getting its facilities in

compliance. Again, Ranbaxy took no action.

       88.     The FDA, and other regulators around the world, remained unaware of the extent

of the problems within Ranbaxy.

       89.     In late 2005, the FDA got its first glimpse into Ranbaxy’s suspect business

practices when a whistleblower contacted FDA officials making allegations of compliance issues

at certain of Ranbaxy’s manufacturing facilities.

C.     In 2006, the FDA begins to scrutinize Ranbaxy’s operations.

       90.     Beginning in early 2006, the FDA instituted a series of inspections at Ranbaxy

facilities. Despite advance notice given to Ranbaxy Labs (and despite Ranbaxy’s hurried efforts

to cover up flaws and create false reports), the FDA discovered serious, and systemic,

compliance and documentation issues.

       91.     The inspections documented a number of violations and deviations from cGMP

regulations, including:

       a.      Failure to maintain a complete record of all data collected during
               tests, as required by 21 C.F.R. § 211.194(a)(4). Ranbaxy standard
               operating procedures expressly called for some test results to be
               “discarded.” While FDA regulations permit anomalous test results to
               be invalidated under certain circumstances, all data must be retained.

       b.      Failure to establish and follow written protocols for assessing the
               stability of certain drug products, as required by 21 C.F.R. § 211.166.
               The FDA found evidence that Ranbaxy ran a series of tests on the
               same day, then doctored the test dates to make it appear as if they
               were run at 3-, 6- and 9-month intervals.



                                                26
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       c.      Failure to determine appropriate drug storage conditions and
               expiration dates, as required by 21 C.F.R. § 211.166. Stability
               samples, including some for generic Nexium, that should have been
               studied for their degradation profile at warmer temperatures (30oC)
               were stored in a refrigerator and held at 4oC.

       d.      Failure to maintain logbooks for all storage chambers containing
               stability samples, as required by 21 C.F.R. § 211.166(a)(1). After
               finding thousands of stability samples stored in two stability
               chambers, the FDA requested the log books for those chambers.
               Ranbaxy employees stated none existed.

       e.      Inadequate resources, including personnel and equipment, in the
               quality control unit, as required by 21 C.F.R. § 211.22(b), resulting in
               a substantial backlog of samples to be tested in 2006.

       f.      Failure to keep accurate, detailed documentation relating to the
               production and control of each batch of a drug produced at the
               facility, as required by 21 C.F.R. § 211.188.

       g.      Failure to investigate unexplained discrepancies, flaws, or deviations
               from the required standards for a given batch of a generic drug, as
               required by 21 C.F.R. § 211.192, including some batches that were
               distributed for public consumption.

       92.     At the end of each inspection, the FDA provided Ranbaxy with an inspection

report summarizing its findings. The FDA expressed concern about the findings, particularly

Ranbaxy’s lack of documentation for critical testing to ensure product quality, stability, and

consistency. Ranbaxy’s handling of stability samples was particularly concerning.

       93.     On June 16, 2006, the FDA issued a warning letter to Ranbaxy’s facility in Paonta

Sahib, India, recommending a hold be placed on ANDAs originating from that facility. Dozens

of Ranbaxy’s ANDAs, including many of its lucrative first-to-file ANDAs, had originated at

Paonta Sahib. Many would soon be approaching the statutory 30-month deadline for tentative

approval: a hold on the applications put Ranbaxy’s valuable 180-day exclusivity periods at risk.




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D.      The Ranbaxy ANDA enterprise begins.

        94.     By 2006, internally, Ranbaxy appreciated that it had reached a crisis stage. It

needed to respond to regulatory requests – particularly from the FDA – regarding its product

development, testing, manufacturing, and reporting. Of course, these were operational issues

needing full and (as typically occurs with responsible companies) transparent reporting.

Technicians and regulatory employees, not lawyers, would have the information to implement

sound practices and truthful reporting.

        95.     But Ranbaxy apparently believed it had too much to hide. And it recognized that

the consequences of timely and full disclosure would cost Ranbaxy too much of what it had

gained over the years through the false impressions it had garnered. So in 2006, Ranbaxy chose

to form a group comprised of itself, some outside lawyers, and an ostensibly independent

consulting company it hand-selected, in order to address FDA regulatory demands.

        96.     Ranbaxy Labs engaged the law firm of Buc & Beardsley LLP (using two lawyers,

Kate Beardsley and Carmen Shepard, herein “Beardsley”). In turn, Ranbaxy and Beardsley

retained Parexel Consulting LLC (“Parexel”) and Ron Tetzlaff, its Corporate Vice President and

a former FDA expert on cGMP compliance. On or about May 11, 2006, Beardsley and Parexel

entered into an agreement (the “Parexel I Agreement”), structured to shield Parexel’s audit work

from any FDA scrutiny.28

        97.     The notion was that Parexel, which generally enjoyed a good reputation, would be

hired to perform a series of audits addressing the FDA’s findings. Parexel and Ranbaxy would

hold Parexel out as conducting ostensibly “independent” reviews of Ranbaxy’s facilities.




28
  Counsel for Ranbaxy, Jayadeep Deshmukh also signed the agreement, and Ranbaxy remained responsible for
paying Parexel’s bills.

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However, Parexel had agreed that Beardsley and Ranbaxy would control what was told to the

FDA, what documents were shared with the FDA, and what the FDA could learn about the level

of cGMP compliance at Ranbaxy’s facilities. Parexel also agreed to run all drafts of its audit

reports through the lawyers (i.e., Beardsley) for comment and approval; every page of its work

would be labeled as attorney work product and identified as privileged; and Parexel would

follow Beardsley’s instructions as to any subpoenas that might seek the audit reports.

       98.     Ranbaxy, by associating itself with the outside lawyers and an ostensibly

independent consulting firm, could create with them that which it could not create on its own: a

patina of legitimacy. In reality, little if any actual progress would be made in Ranbaxy’s India-

based facilities. But Ranbaxy, working with Beardsley and Parexel, could forestall FDA

regulatory scrutiny for years.

       99.     Ranbaxy Labs and Ranbaxy Inc. mailed a series of letters to the FDA, discounting

the FDA’s observations and deflecting blame for the compliance issues raised in the inspection

report. Some form of an explanation was offered, or it was claimed that new practices had been

adopted. During the inspections the FDA requested certain documents, such as lists

documenting the storage of drugs. Ranbaxy employees stated that such lists did not exist.

Following the inspections, Ranbaxy sent documents to the FDA, purporting to be master lists and

working logs of samples stored in their facilities. But the documents (a) did not document any

samples received before January 2006, and (b) contained no information for the samples received

from January through May 2006, concerning the date(s) on which the samples had been removed

from/returned to storage as part of stability testing.

       100.    Unconvinced by Ranbaxy’s explanations and excuses, on June 15, 2006, the FDA

issued a Warning Letter, citing “significant deviations from [cGMP] Regulations … in the



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manufacture of drug products.” Among the FDA’s ongoing concerns was a lack of assurance

that Ranbaxy had reliably performed stability sample tests. The FDA imposed a compliance

hold on agency approval, impacting approval of any Ranbaxy ANDAs originating from that

facility. As many of Ranbaxy’s first-to-file ANDAs had originated from Paonta Sahib, Ranbaxy

needed to convince the FDA that things were just fine at Paonta Sahib.

E.       Ranbaxy threatens litigation to secure final approval for Zocor.

         101.     As the FDA was assessing the results of the Ranbaxy inspections, it was also

reviewing an ANDA Ranbaxy had previously filed for Zocor (simvastatin).29 The only patent

that was blocking final approval was expiring on June 23, 2006, and Ranbaxy wanted to come to

market. But the recent regulatory scrutiny was a complication.

         102.     Pulling out a common tool in its arsenal, Ranbaxy threatened to sue the FDA if it

held up final approval due to the recent compliance hold. Ranbaxy demanded a meeting with the

FDA and, with the assistance of Beardsley and Parexel, persuaded the FDA not to hold up final

approval. On June 23, 2006, the FDA granted final approval to Ranbaxy’s 80 mg Zocor ANDA.

F.       Ranbaxy continues to stall FDA review.

         103.     On August 26, 2006, Alok Ghosh, Ranbaxy Inc.’s Vice President of Global

Quality, responded to the June warning letter with a letter of his own. Ghosh’s letter was laced

with false statements and material misrepresentations intended to mislead the FDA and further

Ranbaxy’s scheme to unlawfully obtain as many ANDA tentative approvals as possible. For

example, Ranbaxy, through Ghosh, falsely represented to the FDA that Ranbaxy was

“undertaking a number of activities to improve [its] quality programs and enhance [its]


29
  Tentative approval had been granted years before, but patents prevented final approval. In an effort to remove the
basis for granting 180-day exclusivity, the brand company sought to “de-list” the two patents as to which paragraph
IV certifications had been filed. Litigation ensued, eventually resulting in the patents being re-listed with the FDA,
and Ranbaxy’s 180-day exclusivity period being preserved.

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operational performance at the Paonta Sahib facility.” He told the FDA that “senior management

[was] focusing resources and expertise on [Ranbaxy’s] stability program and [its] analytical

systems for testing samples for [its] stability program and batch release.” Ghosh personally

assured the FDA that Ranbaxy would take remedial steps, touting the fact that that it had

“retained Ron Tetzlaff and his colleagues at PAREXEL Consulting . . . to verify that our

stability laboratory program improvements are effective and systemic, and to verify the

effectiveness of our commitments made in response to the Warning Letter.”

       104.    Ghosh included a detailed, point-by-point response to the warning letter,

presenting Ranbaxy’s explanations. While Ranbaxy purportedly committed to remediating

compliance issues, many, if not most, of Ranbaxy’s responses denied that any compliance issue

actually existed, often instead blaming the FDA for a misunderstanding. For example:

       a.      In response to the FDA’s concern that Ranbaxy’s standard operating
               procedure required employees to discard inconsistent data, Ranbaxy
               claimed no data was ever “discarded.” Rather, according to Ranbaxy,
               “discard” was synonymous with “invalidate.” Ranbaxy claimed
               employees always invalidated but retained the data.

       b.      During the inspection the FDA was told no log books existed for two
               4oC chambers containing stability samples, which the FDA referred to
               as “stability chambers.” To explain why Ranbaxy was later able to
               produce those same log books, Ranbaxy contended that log books had
               always existed, but were not provided because the chambers were not
               “stability chambers,” but rather “refrigerators.”

       105.    In late September, the FDA requested copies of Parexel’s audit reports and

findings. But, beginning a pattern that would last for two years, Ranbaxy, Beardsley, and

Parexel stonewalled.

       106.    In a letter dated October 13, 2006, Ghosh informed the FDA that Ranbaxy would

“much prefer not to provide the audit report.” Instead of providing the audits themselves,

Ranbaxy offered to provide other materials of its own choosing. Ranbaxy and Parexel


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maintained that providing the audit work would adversely affect employee candor in the audit

process, telling the FDA that its own policy was not to review such audits.

       107.    On or about November 29, 2006, seven Ranbaxy representatives, including

Malvinder Singh (CEO & Managing Director), Pushpinder Bindra (President and CTO), Ghosh,

Jay Deshmukh (Senior Vice President, Global IP), Dr. T.G. Chandrashekhar (Director,

Analytical Research and Stability), and Abha Pant (Associate Vice President, Regulatory

Affairs), traveled from India to the FDA. They were joined by Tetzlaff and Beardsley. Twelve

FDA representatives were present.

       108.    During the meeting, the FDA expressed its concern that, despite the repeated

representations from Ranbaxy and Beardsley, there appeared to be a lack of global corrective

action taking place. The FDA peppered Ranbaxy, Beardsley, and Parexel with questions, many

of which went unanswered. But Tetzlaff vouched for Ranbaxy’s efforts and good intentions.

       109.    Bindra, on behalf of Ranbaxy, represented to the FDA that it had “[r]esolved

issues raised” by the FDA’s Warning Letter and “[c]ompleted commitments made in FDA

responses.” He claimed that Ranbaxy had “[c]omprehensively addressed all . . . Warning Letter

issues,” and “[p]rovided FDA with evidence to show that all Warning Letter issues have been

adequately addressed.” Ranbaxy provided the FDA with a chart classifying 56 remedial actions

as “complete,” 1 as “nearly complete,” and 1 as “awaiting FDA approval.” The representations

were untrue or misleading.

       110.    Tetzlaff made a presentation concerning the Parexel audits, representing that

Parexel was “doing a retrospective verification of stability samples” along with a review of the

accuracy of “all current and future ANDA filings.” Tetzlaff told the FDA that he expected the

audit results for all pending ANDAs to be completed and provided to the FDA by year end.



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       111.    Tetzlaff blamed some of the purported issues on the FDA: “Several FDA

responses conveyed unclear messages that seemed to have resulted from unfortunate choices of

words,” but assured the FDA that “[n]one of [Ranbaxy’s] statements appeared to be an attempt to

provide misleading information.”

       112.    Tetzlaff told the FDA that “PAREXEL found Ranbaxy has addressed every audit

observation and is making effective progress to complete remaining improvements within their

timeframes.” He stated that “[f]or each of the 8 observations [made during the February 2006

inspection], PAREXEL verified the commitments made in Ranbaxy’s” August 2006 letter, and

“found that appropriate improvements had been put into place for each of the 8 observations.”

       113.    Tetzlaff assured the FDA that Ranbaxy’s response to its concerns was complete

and sufficient. But the audits themselves remained hidden from the FDA.

       114.    Ranbaxy, Beardsley, and Parexel continued to maintain that the audits were

privileged, arguing that disclosure of the audits would impact the candor necessary for a

successful audit. But it was clear from the meeting that the FDA was not giving up in its quest to

obtain the complete audits.

       115.    Shortly after the meeting with the FDA, Parexel entered into a second agreement,

this time directly with Ranbaxy. Once again, the contract was structured to try to cloak the audit

work most relevant to the concerns of the FDA – the operational testing, manufacturing and

reporting conditions at Ranbaxy – in the garb of attorney-client privilege.

G.     Ranbaxy’s legal woes begin to mount with the issuance of governmental subpoenas,
       a search warrant, and the filing of a false claims act complaint.

       116.    Unbeknownst to Ranbaxy, the FDA’s ongoing and unresolved concerns from its

inspections had spawned a federal criminal investigation into whether Ranbaxy had, among other




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things, lied to the FDA in Ranbaxy’s ANDAs and other submissions, defrauded the United

States, or made false statements to the government.

       117.    On February 14, 2007, federal agents executed search warrants at Ranbaxy Inc.’s

facilities in New Jersey, seizing computers and documents. In those documents and on those

computers were copies of communications between Ranbaxy Labs, Ranbaxy Inc., Beardsley, and

Parexel relating to Parexel’s audits. To prevent the government or the FDA from reviewing the

audits that Ranbaxy and Parexel had earlier refused to produce, Ranbaxy’s criminal lawyers

wrote the Department of Justice, invoking attorney-client and work-product privileges over any

documents referencing Beardsley or Parexel.

       118.    On March 8, 2007, the federal government served an administrative subpoena on

Ranbaxy, demanding the production of numerous documents and records associated with

Ranbaxy’s regulatory filings and interactions with regulatory agencies. This subpoena was

issued under the authority of the Health Insurance Portability and Accountability Act

(“HIPAA”), 18 U.S.C. § 3486, to facilitate a federal criminal investigation relating to allegations

of health care fraud.

       119.    On March 27, 2007, Beardsley left a voicemail with the FDA, requesting a

conference call. The FDA had, at Beardsley’s insistence, re-inspected a portion of the Paonta

Sahib facility in January 2007, and Beardsley asked about that inspection, informing the FDA

that Ranbaxy had addressed the only three observations made by the FDA during that inspection.

She also mentioned having heard rumors about adverse regulatory action about to be taken

against Ranbaxy’s Ohm facilities.




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       120.    The requested conference call took place on April 5, 2007. The FDA informed

Beardsley that none of the six Ohm facilities in the FDA database was at risk, and that the

inspection of Paonta Sahib had suggested that the site was acceptable for API production.

       121.    Only after being provided with this information did Beardsley acknowledge that

Ranbaxy had not yet addressed all of the concerns raised in the 2006 warning letter, and that the

audits requested by the FDA remained ongoing. She would not commit to a date on which the

audits would be provided to the FDA.

       122.    The FDA made clear during the telephone call that, until the audit was received,

and found to be satisfactory, Paonta Sahib would remain out of compliance with cGMP.

       123.    In April 2007, a False Claims Act complaint was filed against Ranbaxy, alleging

serious violations of cGMP leading to the introduction of adulterated drugs into the U.S. market.

This complaint was brought by a whistleblower with intimate knowledge of the company’s

wrongful business practices. Indeed, it was this whistleblower who had undertaken the 2004

internal company investigation documenting the multiple examples of fraud within Ranbaxy’s

regulatory submission. Years later, this complaint would be part of a settlement with the federal

government in which Ranbaxy paid $350 million.

       124.    On May 8, 2007, the federal government served Parexel with an administrative

subpoena seeking documents related to Ranbaxy’s regulatory filings and audits. This subpoena

was similar to the one that had been served on Ranbaxy in March. But Ranbaxy, Beardsley, and

Parexel persisted in their claims of privilege, and challenged the scope of the subpoenas,

substantially delaying the production of documents pursuant to the subpoenas.

H.     Ranbaxy locks in first-to-file exclusivity on its Flomax ANDA.

       125.    In the spring of 2007, Ranbaxy faced the first in a series of potential crises with

respect to its pending first-to-file ANDAs. Recall that, in order for the first-to-file ANDA holder
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to secure its 180-day exclusivity for a product, the ANDA holder has to receive tentative

approval from the FDA for its application within 30 months of filing.

       126.    During the first half of 2007, Ranbaxy’s first-to-file ANDA for generic Flomax (a

widely used alpha-blocker that aids urination) was approaching a 30-month forfeiture date of

June 20, 2007, without Ranbaxy yet having received tentative FDA approval. If Ranbaxy did not

secure tentative approval for its Flomax ANDA by June 20th, it would forfeit first-to-file

exclusivity.

       127.    The problem, of course, was that Ranbaxy’s India-based facilities were run so

poorly, and were so inadequate that they did not comply with applicable U.S. law and regulation,

that Ranbaxy was not entitled to tentative approval for its generic Flomax ANDA. So Ranbaxy,

working through its Ranbaxy ANDA Enterprise, resorted to fraud and misdirection, seeking to

obtain tentative approval through grift rather than honest negotiations.

       128.    On June 18, 2007, Ranbaxy mailed letters to two different divisions within the

FDA, each intended to have the FDA act upon false or misleading information.

       129.    First, Ranbaxy mailed a letter to CDER, giving it the false impression that all

outstanding stability and other issues had been corrected. Ranbaxy wrote that “the retrospective

stability verification promised during the November 29, 2006 meeting between Ranbaxy and

FDA has been completed, and that the company’s ANDA submissions are being updated today

to reflect changes identified in the course of the review.” Ranbaxy explicitly represented that,

while three categories of errors had been found, “in no case did the corrections affect the

previous conclusions about the stability of the sample.” Ranbaxy stated that as a result of this

work, there was no longer a justification for the compliance hold. In reality, and unknown to the




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FDA, Ranbaxy’s long-standing manufacturing problems remained, and they affected many

pending applications.

       130.    Second, Ranbaxy mailed a letter to the OGD (the FDA’s generic drug approval

division), giving it the false impression that all outstanding issues for the grant of tentative

approval had been (or soon would be) corrected. Ranbaxy represented that the retrospective

stability verification had recently been completed and the results would be sent to OGD and the

OC (the FDA division charged with ensuring manufacturer’s compliance with FDA regulations),

and sought to give the impression that that information would cause a release of the compliance

hold. Ranbaxy represented that its Flomax ANDA was “ready for tentative approval,” “[e]xcept

for the compliance hold at Paonta Sahib.”

       131.    These letters contained misstatements. As the FDA would later learn, the

compliance issues had not been addressed, and, in fact, would remain unresolved more than

seven years later. Ranbaxy made these misstatements knowing that they would be material to

the FDA’s consideration of whether to overlook the compliance hold in place on applications

originating from the Paonta Sahib facility. Ranbaxy intended these misstatements to induce the

FDA to grant tentative approval as to Ranbaxy’s pending ANDAs, and to further Ranbaxy’s

fraudulent scheme.

       132.    Noting that its first-to-file exclusivity was at risk in the absence of tentative

approval, Ranbaxy again threatened a lawsuit – as it had one year earlier when strong-arming the

FDA into granting final approval to its Zocor ANDA. If the FDA failed to immediately confirm

that Ranbaxy would not forfeit its first-to-file exclusivity on June 20, 2007, Ranbaxy would sue.

       133.    Under the threat of litigation, and while CDER was still processing the audit-

related representations made in Ranbaxy’s June 18th letter, the OGD granted tentative approval



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for Ranbaxy’s Flomax ANDA.30 In doing so, the OGD believed and relied upon Ranbaxy’s

representations concerning its remedial efforts, which lead OGD to conclude that Ranbaxy

appeared to have addressed the only outstanding issue from the 2006 warning letter, and thus

appeared to be in compliance with cGMP.31

         134.     And it worked: the misleading information contained within Ranbaxy’s letters

regarding Flomax informed not only the FDA’s response to the Flomax ANDA, but its responses

to several later ANDAs, including those for generic Diovan, Valcyte, and Nexium. Operating

under the mistaken impression that Ranbaxy was in compliance with cGMP, the FDA also

reactivated Ranbaxy’s Diovan ANDA, another of Ranbaxy’s first-to-file ANDAs facing an

imminent forfeiture date. However, a change in the USP monograph applicable to the drug

suspended the deadline for obtaining tentative approval. With the sense of urgency eliminated,

the FDA took no immediate action on the Diovan ANDA.

I.       Ranbaxy continues to conceal its manufacturing problems.

         135.     But even though Ranbaxy assured the FDA that none its cGMP compliance issues

threatened the safety or efficacy of its medications, Ranbaxy knew that was not true.

         136.     In the early summer of 2007, internal testing of certain batches of gabapentin, a

generic drug Ranbaxy exported to the U.S. market, revealed that the product contained unknown

impurities and that the drug did not meet its expected shelf life.




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  Ranbaxy would later use the first-to-file exclusivity it secured to enter a settlement with the brand company
delaying generic entry until March 2, 2010. When Ranbaxy’s ongoing manufacturing and compliance issues
rendered it unable to launch at that time, Ranbaxy selectively waived its exclusivity, allowing another generic to
come to market on March 2, 2010. In exchange, Ranbaxy received $50 million.
31
   Much later, the FDA would discover that these representations were false. In December 2014, the FDA publicly
stated that the factual bases for this determination – i.e., the representations that Ranbaxy had made to CDER and
OGD on June 18, 2007 – were incorrect.

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       137.    But Ranbaxy did not immediately disclose these findings to the FDA, as it was

required to do. When it eventually did many months later, over 73 million Ranbaxy gabapentin

tablets were recalled.

J.     The FDA continued to press for the concealed Parexel audits.

       138.    Having been given a (false) impression about the contents of the Parexel audits,

the FDA still (of course) wanted to see them. In late July of 2007, following another meeting

with the FDA, Beardsley provided some of Parexel’s work, defined as “Ranbaxy and Parexel

protocols and final reports,” while still maintaining that they constituted privileged material.

       139.    Beardsley summarized the reports as showing a tiny proportion of errors and

assuring the FDA that Ranbaxy had “taken exhaustive steps to assure the accuracy of data

contained in its stability reports and ANDA submissions.”

       140.    But Beardsley’s letter did not contain the critical information that had been

requested by the FDA, including “information about the revised dating convention . . . ,

frequency of transcription errors, and a list of ANDAs amended with a summary of changes

made to each.” Beardsley represented that Ranbaxy was in the process of compiling that

information, and would forward it to the FDA when completed.

K.     Ranbaxy locks in first-to-file exclusivity on its Diovan ANDA.

       141.    Meanwhile, Ranbaxy and the FDA had been engaged in discussions since June

concerning the Diovan ANDA. By October 2007, the changes required by the new USP

monograph for Diovan had been addressed. And so once again Ranbaxy faced a potential crisis.

It needed to obtain tentative approval of its Diovan ANDA, or its 180-day exclusivity would be

forfeited. And again, Ranbaxy resorted to conning the FDA into mistakenly granting tentative

approval.



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       142.    Capitalizing upon the misimpressions provided to the FDA earlier that year that

led to its generic Flomax tentative approval, Ranbaxy once again gave the FDA the

misimpression that its cGMP compliance issues were in the past, and that the undisclosed

Parexel audits verified that there were no major concerns.

       143.    On October 25, 2007, relying again on the misrepresentations made by Ranbaxy

concerning the audits and its cGMP compliance, and for many of the same reasons it had granted

tentative approval to the Flomax ANDA, the FDA granted tentative approval to the Diovan

ANDA. Ranbaxy’s 180-day exclusivity was (wrongfully) preserved.

       144.    But Ranbaxy was not resolving its compliance issues. In early December, an

FDA inspection at Ranbaxy Inc.’s corporate headquarters in Princeton, NJ, revealed additional

documentation failures by the company. And approval deadlines continued to crop up.

       145.    In late December 2007, Ranbaxy sought final approval on its clarithromycin

ANDA. Ranbaxy did not have first-to-file exclusivity on this ANDA, but was seeking to launch

its generic clarithromycin on January 2, 2008, along with other generic manufacturers.

       146.    Beardsley emailed the FDA, acknowledging that the FDA “could not consider

Ranbaxy’s request that FDA approve the clarithromycin ANDA unless Ranbaxy provides certain

of the Parexel audits.” She asked what specific information the FDA would require before

granting final approval. The FDA reiterated that the audits would have to be produced for final

approval to be considered.

       147.    After internal discussions, Beardsley informed the FDA that Ranbaxy needed “to

think through the implications for the criminal case of providing the audits.” Ranbaxy provided

none, and as a result, Ranbaxy’s clarithromycin request was withdrawn.




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L.      Ranbaxy locks in first-to-file exclusivity on its Nexium ANDA.

        148.   In early January 2008, internal discussions began at the FDA concerning

Ranbaxy’s Nexium ANDA, which was facing the tentative approval deadline of February 5,

2008.

        149.   The FDA had still not received the complete audits. But it was still operating

under the mistaken belief (created by Ranbaxy’s summer 2007 submissions) that Ranbaxy had

resolved its cGMP compliance issues, and that none of the issues identified in the 2006 Warning

Letter impacted the accuracy of any of Ranbaxy’s ANDA submissions. Once again, Ranbaxy

exploited this misunderstanding – created by Ranbaxy’s own misrepresentations – to coerce the

FDA into granting a tentative approval to which Ranbaxy was not entitled. And once again, its

ploy worked: the FDA granted tentative approval to Ranbaxy’s Nexium ANDA on February 5,

2008, allowing Ranbaxy to wrongfully preserve its first-to-file exclusivity.

M.      The Batamandi rabbit hole.

        150.   During a teleconference on February 27, 2008, Ranbaxy informed the FDA that it

had opened a new, separate drug manufacturing facility, which it referred to as the Batamandi

plant, for which it was seeking FDA approval. This plant, Ranbaxy maintained, was independent

of Paonta Sahib. Ranbaxy claimed Batamandi shared no staff with Paonta Sahib, and suffered

none of Paonta Sahib’s compliance problems.

        151.   The FDA inspected the Batamandi facility from March 3 -7, 2008. Ranbaxy

employees interacting with the FDA investigators seemed agitated and desperate, often repeating

themselves, and inquiring as to whether the inspectors would be using words like “falsified” or

“integrity” in the FDA’s post-inspection report.

        152.   Contrary to Ranbaxy’s representations, the inspection revealed “that the

Batamandi (Unit II) site is under the same production and quality management as the existing

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Paonta Sahib site [and] that the existing Paonta Sahib site was involved in various aspects of

testing and production for the Batamandi site.” In May, after considering Ranbaxy’s response to

the Batamandi inspection report, the FDA notified Ranbaxy that it was canceling the separate

facility registration for Batamandi. The facility would be treated as an extension of the Paonta

Sahib facility. And the numerous violations uncovered there would be considered indicative of

ongoing problems at Paonta Sahib.

         153.   The inspectors recommended that the FDA implement its rarely-used data

integrity protocols against Ranbaxy “for submitting information to FDA that may have been

fabricated.”

         154.   In early April of 2008, Beardsley sent the FDA a few of the audits it had been

seeking, but claimed that others had never been completed and/or did not exist. The FDA

continued to press for complete audits, including those relating to selected manufacturing and

laboratory areas at Paonta Sahib, validation protocol reports, and certain quality control

laboratory procedures.

N.       Ranbaxy locks in first-to-file exclusivity on its Valcyte ANDA.

         155.   On June 4, 2008, internal discussions began at the FDA concerning Ranbaxy’s

Valcyte ANDA. The thirty-month forfeiture deadline was approaching, and Ranbaxy was once

again pressuring the FDA for approval.

         156.   Having not received any contrary information, such as the audits it had been

requesting for months, the FDA continued under the mistaken belief (based on Ranbaxy’s

representations) that Ranbaxy had rectified the issues identified in the 2006 Warning Letter, and

that none of the issues had impacted the integrity of the data in ANDAs originating from Paonta

Sahib.



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       157.    The FDA granted tentative approval to Ranbaxy’s Valcyte ANDA on June 20,

2008, allowing Ranbaxy to (wrongfully) preserve first-to-file exclusivity.

O.     The 2008 efforts to get the concealed Parexel audits.

       158.    By the summer of 2008, the FDA had been seeking complete copies of Parexel’s

audits of the Paonta Sahib facility for nearly two years. The government had subpoenaed the

documents more than a year earlier. Yet Ranbaxy, Beardsley, and Parexel had still refused to

turn them over. So, on or about July 3, 2008, the government filed an action in the U.S. District

Court for the District of Maryland, to enforce the subpoenas and obtain the documents.

       159.    In the fall of 2008, Ranbaxy and Parexel finally produced the complete audit

information that the FDA had been seeking. Upon reviewing the complete audit files, the FDA

realized that the prior representations made by Ranbaxy, Beardsley, and Parexel concerning the

audits were false.

       160.    For more than two years, the FDA had taken Ranbaxy at its word when the

company downplayed the extent of the problems at Paonta Sahib, promised the FDA that

improvements had been made, and assured the FDA that the compliance problems in no way

affected the integrity of data in Ranbaxy’s ANDAs nor its ability to produce products in

compliance with applicable regulations. In reliance upon Ranbaxy’s statements, the FDA had

granted tentative approval to the Flomax, Diovan, Nexium, and Valcyte ANDAs (among others)

during the same period of time that it had been seeking the full audit reports.

       161.    The FDA now knew that Ranbaxy had conducted stability testing several weeks

or months later than had been reported to the FDA in drug applications and annual reports.

Stability tests that Ranbaxy had reported as having been conducted at different time intervals

(i.e., 3, 6, and 9 months) had, in fact, been conducted on the same day. The FDA knew that



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Ranbaxy’s problems were ongoing. And it knew that those problems impacted numerous

pending applications.

P.     The 2008 Import Alert.

       162.    On September 16, 2008, the FDA issued additional warning letters to Ranbaxy

concerning both its Paonta Sahib and Dewas facilities. Unlike the June 2006 letter, which had

merely recommended a compliance hold, these letters contained an import alert, barring the

commercial importation of almost 30 Ranbaxy drugs into the United States. After detailing

multiple, ongoing deficiencies in the quality systems at the facilities, the FDA informed Ranbaxy

that if it desired to continue shipping drug products to the United States, it needed to assure

compliance with all cGMP standards.

Q.     The 2009 invocation of the FDA Application Integrity Policy.

       163.    On February 25, 2009, the FDA went a step further, informing Ranbaxy of the

FDA’s determination that Ranbaxy had “submitted untrue statements of material fact in

abbreviated and new drug applications files with the Agency.” Citing the observations from the

2006 and 2008 inspections, as well as the numerous subsequent representations made by, or on

behalf of, Ranbaxy, the FDA found “a pattern and practice of submitting untrue statements of

material fact and other wrongful conduct, which raise significant questions regarding the

reliability of the data and information contained in applications (pending and approved) . . . filed

with the Agency.”

       164.    The FDA would be ceasing any assessment of the scientific merits of Ranbaxy’s

pending ANDAs, and would instead focus on assessing “the validity of the data and information

in all of Ranbaxy’s affected applications.” The FDA turned to a rarely used procedure, invoking

its Application Integrity Policy (“AIP”).



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       165.    In short, as of February 25, 2009, the FDA had frozen all of Ranbaxy’s

applications originating from Paonta Sahib, and would be taking no further steps toward

approving those applications until the review of Ranbaxy’s data was complete.

R.     The FDA attempts to deal with the aftermath of Ranbaxy’s conduct.

       166.    Following invocation of the AIP, the FDA faced a practical reality. Ranbaxy was

one of the largest generic drug manufacturers in the world, holding over 240 ANDAs that had

either been approved by, or were then pending before, the FDA. Almost 20 first-to-file ANDAs

were under active consideration by the FDA. But the FDA now had evidence calling into

question the accuracy of the data supporting those ANDAs.

       167.    And the FDA had proof that cGMP compliance issues were affecting drugs being

sold in the U.S. market. Ranbaxy was forced to recall thousands of cartons of its isotretinoin

capsules – not once, but twice – because cGMP compliance issues undermined the drug’s safety.

And thousands of bottles of Ranbaxy’s amoxicillin and clavulanate potassium had to be recalled

when the white pills turned brown without explanation.

       168.    Resolving Ranbaxy’s myriad manufacturing and compliance issues would take a

substantial amount of time and resources. So, the FDA focused its initial attention on the

Ranbaxy ANDAs that were most suspect and most directly affected by the AIP – i.e., those that

originated from the Paonta Sahib facility.

       169.    At the FDA’s request, Ranbaxy provided the FDA with a “priority list” of the

ANDAs covered by the AIP, ranking 65 then-pending ANDAs in order of importance, both from

a commercial and a public health perspective. Among the ANDAs identified by Ranbaxy as

being of highest importance were its first-to-file ANDAs for generic Valcyte, Diovan, and

Nexium.



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       170.    The FDA’s initial solution to its Ranbaxy problem was simple: on August 13,

2010, it presented Ranbaxy with a proposed consent decree imposing upon Ranbaxy a permanent

injunction intended to remedy the significant cGMP compliance problems at Paonta Sahib and

many other Ranbaxy facilities. The draft consent decree proposed that Ranbaxy immediately

relinquish its claims to 180-day exclusivity for 16 different ANDAs. Among those 16 were the

Diovan, Valcyte, and Nexium ANDAs.

       171.    Forfeiture of its first-to-file status on these drugs would have represented a loss to

Ranbaxy of many hundreds of millions of dollars. Without exclusivity, Ranbaxy would not

capture the majority of sales, could not block other generic entrants, and would have no ability to

charge supra-competitive prices on those sales (or tosell the right to another company to do so).

The generic versions would be immediately commoditized, eliminating the huge profit incentive

Ranbaxy had spent years pursuing, and years lying to preserve.

       172.    During 2010 and 2011, the FDA and Ranbaxy negotiated the terms of a consent

decree to address Ranbaxy’s pending, India-based ANDAs. Eventually, the FDA compromised.

Although Ranbaxy agreed to relinquish some of its pending applications, Ranbaxy would be

allowed to maintain most of its first-to-file ANDAs, including Diovan and Valcyte, so long as

Ranbaxy met additional regulatory requirements set out in the consent decree.

S.     The 2012 Consent Decree.

       173.    On January 25, 2012, the Department of Justice (“DOJ”) filed a civil complaint

and consent decree of permanent injunction against Ranbaxy in the U.S. District Court for the

District of Maryland. Through the consent decree, Ranbaxy promised to take substantial steps to

remedy its prior misconduct and ensure that its drug manufacturing operations were brought into

cGMP compliance. The consent decree largely superseded, and significantly broadened, the

restrictions that the February 2009 AIP had placed on Ranbaxy.
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        174.      Under the consent decree, Ranbaxy was required to, inter alia, establish new

practices and offices to ensure compliance, withdraw certain ANDAs, submit other ANDAs to

new audits, and ensure cGMP compliance at Paonta Sahib and Dewas.

        175.      The consent decree required Ranbaxy to take several affirmative steps to ensure

control over quality assurance (“QA”) and quality control (“QC”). Ranbaxy had to create an

Office of Data Reliability within the United States that would be responsible for conducting pre-

submission audits of all applications submitted from nine Ranbaxy facilities, including Paonta

Sahib (referred to as the “Covered Facilities”). The consent decree imposed on Ranbaxy strict

requirements for ensuring that all future submissions were reliable and documented. And it

obligated Ranbaxy to retain an independent Data Integrity Expert and a cGMP Expert. The

consent decree also imposed significant prohibitions on Ranbaxy. Ranbaxy could not

manufacture any U.S. drugs at Paonta Sahib, Dewas, or Batamandi until audits were performed,

a comprehensive set of remedial cGMP measures were implemented, and the FDA re-inspected

the facilities.

        176.      Finally, the Consent Decree permitted the FDA to, without notice, inspect and

collect samples from Ranbaxy’s facilities.

        177.      Ranbaxy withdrew all NDAs and ANDAs that contained data or other

information generated at Batamandi, and agreed not to submit another application for those

drugs, or transfer the applications to a third party.

        178.      Most of Ranbaxy’s applications remained on hold. But the consent decree

divided Ranbaxy’s remaining ANDAs into two categories: (1) “Affected Applications,” defined

as any application containing data or information generated at Paonta Sahib and/or Dewas and




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made subject to an internal review, third-party audit, and corrective action operating plan, and

(2) “Excepted Applications,” of which there were five.

        179.    Ranbaxy immediately relinquished its first-to-file exclusivity with respect to three

Affected Applications. And it was given a deadline of March 3, 2013, by which to gain final

approval over another or suffer forfeiture of 180-day exclusivity for that product as well.

        180.    Ranbaxy could maintain 180-day exclusivity for the five Excepted Applications

pending the results of an audit. For each, a specific deadline was set by which Ranbaxy’s Data

Integrity Expert had to complete an audit of the ANDA. Following each audit, Ranbaxy had to

supply information to the FDA sufficient to demonstrate that the applications were, in fact,

substantially complete at the time of submission. If the audit uncovered untrue statements or

data irregularities, the application would be withdrawn; if the results of the audit were

acceptable, the FDA would resume consideration of the application. This group included the

Diovan, Nexium, and Valcyte ANDAs.

        181.    Ranbaxy retained Quintiles, Inc. (“Quintiles”) to conduct audits required under

the consent decree. Audits for the Valcyte, Diovan, and Nexium ANDAs were eventually

submitted to, and reviewed by, the FDA.

T.      The 2013 plea agreement with the DOJ.

        182.    In early 2013, Ranbaxy entered into a civil settlement and related plea agreement

with the federal government. The civil settlement resolved the 2007 whistleblower

action. Ranbaxy and various subsidiaries agreed to pay a $350 million penalty for selling

adulterated drugs in the United States from April 1, 2003, through September 16, 2010. And

Ranbaxy admitted to making false statements to the FDA concerning numerous lots and batches

of its drugs.



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       183.    Under the plea agreement, Ranbaxy USA, Inc. admitted to having committed

numerous criminal violations, including introducing adulterated drugs into interstate commerce,

failing to timely file required reports, and making false statements to the FDA. Ranbaxy USA,

Inc. paid a criminal fine of $130 million and a criminal forfeiture penalty of $20 million, and

agreed that Ranbaxy had engaged in a fraudulent course of conduct before the FDA.

       184.    For several years following the 2006 Paonta Sahib inspection, Ranbaxy had

misrepresented its cGMP compliance status to the FDA, and had misled the FDA as to the

company’s efforts to improve, in order to delay adverse action by the FDA. Ranbaxy was able to

continue manufacturing drugs, and to secure valuable tentative approval for many of its pending

ANDAs – including those for generic Diovan, Valcyte, and Nexium – because it delayed the

FDA’s adverse regulatory action through a pervasive pattern of material misstatements.

Ranbaxy made, or caused to be made, the following material misstatements:

       a.      On August 26, 2006, Ghosh, on behalf of Ranbaxy, sent the FDA a letter through
               the mail, in which he stated that Ranbaxy was “undertaking a number of activities
               to improve [its] quality programs and enhance [its] operational performance at the
               Paonta Sahib facility.” He also stated that Ranbaxy’s “senior management [was]
               focusing resources and expertise on [Ranbaxy’s] stability program and [its]
               analytical systems for testing samples for [its] stability program and batch
               release.” These representations were false and/or materially misleading:
               subsequent inspections of Paonta Sahib, and audit reports being prepared
               contemporaneously with his letter to the FDA revealed continued, unremediated
               problems at Paonta Sahib.
       b.      At the November 27, 2006, meeting between the FDA, Ranbaxy, Beardsley, and
               Tetzlaff, Bindra, on behalf of Ranbaxy, stated that Ranbaxy had, at that time,
               comprehensively addressed and resolved all issues identified in the June 2006
               Warning Letter. The statement was false and/or misleading: as Beardsley would
               admit the following year, Ranbaxy had not addressed all issues described in the
               Warning Letter.
       c.      At the same meeting, Tetzlaff stated that Parexel had confirmed that Ranbaxy had
               resolved all issues identified in the February 2006 Paonta Sahib inspection. This
               statement was false and/or misleading: the issues identified in the February 2006
               inspection were coextensive with the issues identified in the June 2006 Warning
               Letter, which Beardsley would later admit had not been addressed.

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d.    On March 27, 2007, Beardsley contacted the FDA by phone, informing the FDA
      that Ranbaxy had resolved the issues identified in its inspection of Paonta Sahib.
      This was false, as Beardsley herself would later admit.
e.    On June 18, 2007, a Ranbaxy representative mailed a letter to the CDER, stating
      that Ranbaxy’s stability verification had been completed, and “in no case did the
      corrections affect the previous conclusions about the stability of the sample.” As
      the FDA would learn more than a year later, that representation was false: once
      the FDA obtained copies of the audit reports that should have confirmed that there
      were no discrepancies in the ANDA stability data, it shut down scientific review
      of Ranbaxy’s ANDAs, until Ranbaxy submitted correct data. Therefore, upon
      information and belief, the stability verification and Parexel’s audit showed that
      discrepancies and irregularities in the stability data did impact then-pending
      ANDAs.
f.    On June 18, 2008, a Ranbaxy representative mailed a second letter, this time to
      the OGD, informing OGD that Ranbaxy’s generic Flomax ANDA was “ready for
      tentative approval.” This was false: as the FDA would later learn, despite
      Ranbaxy’s representations regarding its cGMP compliance, the Paonta Sahib
      facility was not in compliance with cGMP regulations, rendering Ranbaxy’s
      pending ANDAs incomplete at best, and more likely false.
g.    In late July 2007, Beardsley mailed the FDA a letter, enclosing some of Parexel’s
      audits, and representing that Ranbaxy was in the process of compiling other
      requested information, and it would provide the information when it was
      completed. Beardsley’s representation that Ranbaxy intended to provide the audit
      information was false: as would become apparent, Ranbaxy and Beardsley
      intended to, and tried to, shield that information from discovery behind claims of
      attorney-client privilege.
h.    In that same letter, Beardsley stated that the reports showed only an
      inconsequential number of errors in Ranbaxy’s stability data, and assured the
      FDA that Ranbaxy had “taken exhaustive steps to assure the accuracy of data
      contained in its . . . ANDA submissions.” As noted above, this statement would
      be proven false when the FDA reviewed the results of Parexel’s audits, which,
      upon information and belief, showed that false data was submitted in conjunction
      with ANDAs.
i.    On February 27, 2008, a Ranbaxy representative informed the FDA by telephone
      that the Batamandi facility was independent of Paonta Sahib and shared none of
      Paonta Sahib’s staff or compliance issues. This was false: as the FDA discovered
      when it inspected the Batamandi facility in March 2007, Batamandi was “under
      the same production and quality management as the existing Paonta Sahib site”
      and Paonta Sahib handled much of Batamandi’s testing and production.
j.    In April 2008, Beardsley mailed the FDA several audit reports, but failed to
      submit some of the reports requested. As to those reports not provided, Beardsley
      stated that they had never been completed and/or did not exist. This was false. In

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               the face of a federal lawsuit, Ranbaxy would later produce several of these
               reports.
       185.    In making (or causing to be made) each of these statements, Ranbaxy, Beardsley,

and Parexel intended to – and did – deceive the FDA as to the status of Ranbaxy’s cGMP

compliance, the effect of its non-compliance on the safety of drugs for sale in the U.S., and the

need for regulatory action. Each of these misrepresentations was made for the purpose of

delaying, forestalling, or avoiding adverse action by the FDA. And each was made to enable

Ranbaxy to gain tentative approval for – and preserve valuable first-to-file status for – a number

of Ranbaxy’s then-pending ANDAs, including those for generic Diovan, Valcyte, and Nexium.

       186.    Attached to the plea agreement was a statement of facts detailing Ranbaxy’s

corrupt business model. After seven years of denials, obfuscation, and delay, Ranbaxy was

forced to admit what it had tried to hide all along.

       187.    Ranbaxy finally admitted that the 2006 FDA inspection at Paonta Sahib had found

significant problems, including incomplete data and records, failure to follow protocols, and

inadequate resources to comply with FDA regulations.

       188.    Ranbaxy finally admitted that it had falsified stability sample testing data. Rather

than storing the samples under the conditions required by the FDA-approved testing protocols,

Ranbaxy stored the drugs in a refrigerator for a significant period of time, because there was a

testing backlog, and that it “conducted stability testing of certain batches of these drugs several

weeks or months later than the dates that were reported to the FDA . . . and in many instances,

the stability test results that were reported as having occurred at three, six, nine, twelve, and

eighteen months[’] time intervals were actually conducted on the same day.” Yet it conceded

that it claimed to the FDA that its stability testing program was being conducted according to the

FDA-approved protocols.


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       189.    Ranbaxy finally admitted that it was aware of substantial cGMP compliance

problems since at least October 2003, when an auditor informed Ranbaxy that:

       a.      “formalized training, as required by the cGMPs . . . was essentially nonexistent”;
       b.      there were serious deficiencies in Ranbaxy’s process validation, equipment
               qualification, master production records (including batch records), procedures,
               documentation practices, and stability program;
       c.      “the need for the company to overhaul the batch records . . . to ensure consistency
               in the manufactured batches”; and
       d.      “a procedure on good documentation practices was found to be lacking.”
       190.    And Ranbaxy finally admitted that, despite these known cGMP deficiencies in

2003, and despite consultants urging that Ranbaxy conduct additional cGMP training for its staff,

“Ranbaxy never presented any of the training programs recommended for it by [the auditor].”

U.     Ongoing FDA inspections.

       191.    Despite the 2012 consent decree and the 2013 DOJ settlement and plea, Ranbaxy

continued to suffer poor performance reviews at various of its facilities worldwide. FDA

inspections continued to reveal cGMP violations at a variety of Ranbaxy facilities.

       192.    Inspections of Ranbaxy’s Ohm facility in Gloversville, NY, revealed deviations

from cGMP. The FDA issued Ranbaxy yet another warning letter. Rather than correct the

problems, Ranbaxy simply closed the Ohm Gloversville facility.

       193.    Inspections of Ranbaxy’s Mohali, India, plant in September and December 2012

led to the issuance of an import alert on that facility in September 2013. Inspections of

Ranbaxy’s Toansa, India, plant in late 2013 led to the FDA imposing restrictions on that facility

as well.

V.     The impact on the entry of generic Diovan.

       194.    All of these events occurred against the backdrop of Ranbaxy’s pending ANDAs,

most notably its first-to-file ANDAs for which Ranbaxy needed to secure tentative approval in

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2007 and 2008 in order to maintain first-to-file, 180-day exclusivity and thereby prevent entry by

other, later-filing generics.

         195.     While the FDA and DOJ actions addressed the overall testing, reporting, and

manufacturing conditions at various Ranbaxy plants, the FDA would address the specific

consequences for each Ranbaxy application ANDA-by-ANDA, as consideration of each

application occurred.

         196.     As previously alleged, in 2004 Ranbaxy had filed the first ANDA for generic

Diovan, and in 2007 had unlawfully locked-in 180-day exclusivity (and bottlenecking) for that

product from the FDA.32 The additional course of proceedings for generic Diovan show how

Ranbaxy’s unlawful conduct had the effect of delaying the entry of generic valsartan between at

least September 21, 2012, and July 7, 2014.

         197.     In the spring of 2007, more than two years after filing its Diovan ANDA,

Ranbaxy amended its filing, changing its Paragraph III certification with respect to one of the

listed patents to a Paragraph IV certification. (Ranbaxy continued its Paragraph IV certification

on the other listed patent).

         198.     On August 9, 2007, Novartis Pharmaceuticals Corp. (“Novartis”), the brand

company selling Diovan, sued Ranbaxy for patent infringement with respect to the newly-

challenged patent in the U.S. District Court for the District of New Jersey (the “Diovan ANDA

litigation”).



32
  Ranbaxy had filed the first ANDA for generic Diovan in 2004, and because it had made a Paragraph IV
certification with respect to one of the listed Diovan patents, it was eligible by the 180-day exclusivity period. On
May 1, 2007, the official USP drug substance monograph for valsartan was published. The FDA required
compliance with the USP monograph before the FDA would approve the Ranbaxy Diovan ANDA product. On June
26, 2007, and July 5, 2007, Ranbaxy submitted amendments to its ANDA proposing changes to its drug substance
specifications and test methods to comply with the USP monograph. Later in 2007, Ranbaxy duped the FDA into
granting tentative approval to Ranbaxy for the generic Diovan ANDA.

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       199.    On September 13, 2007, Ranbaxy filed with the FDA a Patent Certification

Amendment to its Diovan ANDA, changing its new Paragraph IV certification back to a

Paragraph III certification.

       200.    On September 20, 2007, Ranbaxy and Novartis filed a stipulation of dismissal

with respect to the Diovan ANDA Litigation. Pursuant to this stipulation, Ranbaxy agreed to

delay launching its generic Diovan product until September 21, 2012 (the expiration date of the

six-month pediatric exclusivity granted by the FDA beyond the March 21, 2012 expiration date

for the ‘578 patent). The Diovan ANDA Litigation was dismissed on October 23, 2007.

       201.    On October 25, 2007, Ranbaxy duped the FDA into mistakenly granting tentative

approval for Ranbaxy’s Diovan ANDA.

       202.    It is unknown at this time the extent to which, if at all, Ranbaxy’s efforts in

gaining unlawful tentative approvals played into the agreement to delay entry of generic Diovan

from September 2007 to September 2012. It is also unknown what impact a forfeiture of

Ranbaxy’s first-to-file exclusivity would have had on the efforts of other generic ANDA filers

seeking to bring generic Diovan to market. In any event, as a result of the September 2007

agreement any patent issues with respect to the launch of generic Diovan had been resolved such

that, if Ranbaxy was otherwise in a position to gain final FDA approval, it should have been able

to launch a generic Diovan on or about September 21, 2012, without repercussions from the

holder of Diovan patents.

       203.    On September 21, 2012, the pediatric exclusivity associated with the relevant

patent expired. While other listed patents for Diovan remained in force, Novartis had not

asserted those patents against Ranbaxy, and they did not prevent Ranbaxy from gaining final




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approval. Ranbaxy, absent its reckless conduct, should have been in a position to gain final FDA

approval for generic Diovan by this time.

       204.    By September 28, 2012, other generic manufacturers, including Mylan

Pharmaceuticals, Inc. (“Mylan”), had tentative approvals in-hand for their generic Diovan

ANDAs, and were ready to come to market. But the FDA informed Mylan that it could not

receive final approval at that time due to Ranbaxy’s first-to-file status.

       205.    The January 26, 2012, Consent Decree classified the Diovan ANDA as an

“Excepted Application.” After reviewing written submissions made by Ranbaxy under

paragraph XIV.A of the Consent Decree, the FDA notified Ranbaxy by letter dated May 4, 2012,

that the FDA would begin reviewing audit reports submitted by Ranbaxy and its experts for the

Diovan ANDA.

       206.    However, Ranbaxy could not get the Paonta Sahib facility qualified to

manufacture generic Diovan in compliance with applicable regulations; Ranbaxy had to give up

the possibility of making generic Diovan in India.

       207.    As a result, at some point Ranbaxy found it necessary to undertake a full site

transfer. Apparently after the consent decree was signed (but well before June 26, 2014),

Ranbaxy requested and received from the FDA permission to manufacture its generic Diovan

product at its Ohm Laboratories facility in New Brunswick, New Jersey.

       208.    On June 26, 2014, the FDA finally granted final approval to Ranbaxy’s Diovan

ANDA. In its approval letter, the FDA noted that Ranbaxy had failed to obtain tentative

approval within 30 months of the submission date of the ANDA, but notified Ranbaxy that the

FDA had “determined that the failure to obtain tentative approval within the 30-month period

was caused by a change in or a review of the requirements for approval of the application



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imposed after the date on which the application was filed,” and that Ranbaxy was eligible for

180 days of exclusivity with respect to its generic Diovan product.

       209.    Ranbaxy’s generic Diovan product is manufactured at its Ohm Laboratories

facility in New Brunswick, New Jersey. The active pharmaceutical ingredient (“API”) in the

Ranbaxy generic Diovan product is obtained from a third party, because the Ranbaxy facility at

which the API would have been made is subject to the FDA import ban.

       210.    Ranbaxy launched its generic Diovan product in the United States on or about

July 7, 2014. On July 8, 2014, Sandoz, the generic pharmaceuticals division of Novartis,

launched an authorized generic version of Diovan in the United States. Due to Ranbaxy’s 180-

day exclusivity, no other generic versions of Diovan could obtain approval from the FDA for six

months after the launch of Ranbaxy’s generic Nexium product.

       211.    On January 5, 2015, the FDA approved a number of other ANDAs for generic

Diovan, including ANDAs submitted by Teva (Ivax) and Mylan. Mylan launched its generic

Diovan product on the same day, and Teva launched its generic Diovan product the next day.

       212.    Were it not for Ranbaxy’s wrongful conduct, generic Diovan would have become

available at least as early as September 21, 2012, and all direct purchasers would have paid

substantially less for valsartan than they did. Among other things, if Ranbaxy had not

wrongfully acquired, maintained, or used the bottlenecking, 180-day exclusivity for valsartan,

there would have been no bottleneck for the entry of other generics, and other generic companies

could and would have entered the market for valsartan by gaining FDA approval, and launching

generic products, at least as early as September 21, 2012.




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       213.    The below is a summary of Diovan ANDA facts as they unfolded given

Ranbaxy’s unlawful conduct.




W.     The impact on the entry of generic Valcyte.

       214.    As previously alleged, in 2005 Ranbaxy had filed the first ANDA for generic

Valcyte, and in 2008 had unlawfully locked in 180-day exclusivity for that product from the

FDA. The additional course of ANDA proceedings for generic Valcyte show that Ranbaxy’s

unlawful conduct had the effect of delaying the entry of generic valganciclovir hydrochloride

between at least March 15, 2013, and November 20, 2014.

       215.    On April 28, 2006, Roche Palo Alto, LLC (“Roche”), the brand manufacturer

selling Valcyte, had sued Ranbaxy for patent infringement with respect to the Valcyte ANDA in

the U.S. District Court for the District of New Jersey (the “Valcyte ANDA litigation”).

       216.    In June 2008, Ranbaxy duped the FDA into mistakenly granting tentative

approval for Ranbaxy’s Valcyte ANDA.

       217.    On or about August 26, 2010, Ranbaxy and Roche entered into a settlement of the

Valcyte ANDA litigation. Under the terms of the settlement, Ranbaxy agreed to delay launching

its generic Valcyte product until March 15, 2013.

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       218.    It is unknown at this time the extent to which, if at all, Ranbaxy’s wrongfully

acquired tentative approval for its generic Valcyte ANDA played into the agreement to delay

entry from August of 2010 to March of 2013. It is also unknown what impact a forfeiture of

Ranbaxy’s first-to-file exclusivity would have had on the efforts of other generic ANDA filers

seeking to bring generic Valcyte to market. In any event, a result of the August 2010 agreement

any patent issues with respect to the launch of generic Valcyte had been resolved such that, if

Ranbaxy was otherwise in a position to gain final FDA approval, it should have been able to

launch a generic Valcyte on or about March 15, 2013, without repercussions from the holder of

Valcyte patents.

       219.    The January 26, 2012, Consent Decree classified the Valcyte ANDA as an

“Excepted Application.” After reviewing written submissions made by Ranbaxy under

paragraph XIV.A of the Consent Decree, the FDA notified Ranbaxy by letter dated May 15,

2012, that the FDA would begin reviewing the audit reports submitted by Ranbaxy and its

experts for the Valcyte ANDA.

       220.    The FDA informed Ranbaxy that it would begin or resume reviewing the Valcyte

ANDA. However, Ranbaxy could not get the Paonta Sahib facility qualified to manufacture

generic Valcyte in compliance with applicable regulations; Ranbaxy continued for years to

stubbornly hold onto its blocking 180-day exclusivity for generic Valcyte. After almost two

years of additional delay, the adverse impact that Ranbaxy’s delay was having on healthcare

consumers was brought front and center.

       221.    In the spring of 2014, a series of citizen petitions were filed with the FDA. These

petitions pointed out that the ANDAs filed by other would-be generic companies were being

blocked by Ranbaxy’s wrongfully acquired 180-day exclusivity. The petitioners demanded that



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the FDA revoke Ranbaxy’s first-to-file exclusivity, and that it approve other ANDAs in order to

foster competition.

        222.     On November 4, 2014, the FDA notified Ranbaxy that the FDA had erred in

tentatively approving the Valcyte ANDA because “the compliance status of the facilities

referenced in the ANDA[] at the time the ANDA[] [was] granted tentative approval was

inadequate to support approval or tentative approval.” The FDA then rescinded its previously

granted tentative approval of Ranbaxy’s Valcyte ANDA. And, the FDA determined that

Ranbaxy had forfeited its eligibility for 180-day exclusivity.33

        223.     On the same day that the FDA rescinded the tentative approval of Ranbaxy’s

Valcyte ANDA, the FDA gave final approval to two other ANDAs for valganciclovir

hydrochloride tablets: ANDA No. 200790, submitted by Endo Pharmaceuticals, and ANDA No.

203511, submitted by Dr. Reddy’s Laboratories, Inc.

        224.     On or about November 20, 2014, Endo launched its generic Valcyte product in

the U.S. market for valganciclovir hydrochloride. On December 18, 2014, Dr. Reddy’s

Laboratories launched its generic Valcyte.

        225.     Were it not for Ranbaxy’s wrongful conduct, generic Valcyte would have

launched into the U.S. market for valganciclovir hydrochloride at least as early as March 15,

2013, and all direct purchasers would have paid substantially less for valganciclovir

hydrochloride than they did. Among other things, if Ranbaxy had not wrongfully acquired,

maintained or used the bottlenecking, 180-day exclusivity for valganciclovir hydrochloride, there




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  In that same letter, and for the same reasons, the FDA notified Ranbaxy that it was rescinding the tentative
approval that had been granted to Ranbaxy’s Nexium ANDA. The FDA made no determination at that time
concerning 180-day exclusivity on the Nexium ANDA. On January 26, 2015, the FDA notified Ranbaxy that it had
forfeited its eligibility for 180-day exclusivity for generic Nexium.

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would have been no bottleneck for the entry of other generics, and other generic companies

could and would have entered the market for valganciclovir hydrochloride by gaining FDA

approval, and launching generic products, at least as early as March 15, 2013.




X.     The impact on the entry of generic Nexium.

       226.    As previously alleged, on August 4, 2005 Ranbaxy submitted the first ANDA for

generic Nexium, and in February 2008 it unlawfully locked-in 180-day exclusivity (and

bottlenecking) for that product from the FDA. The additional course of proceedings for generic

Nexium show how Ranbaxy’s unlawful conduct had the effect of unnecessarily delaying the

entry of generic Nexium until at least January 27, 2015.

       227.    On October 14, 2005, Ranbaxy sent a notice of certification of non-infringement

to AstraZeneca, the brand company selling Nexium. On November 21, 2005, AstraZeneca sued

Ranbaxy for patent infringement with respect to the patents covering branded Nexium in the U.S.

District Court for the District of New Jersey (the “Nexium ANDA litigation”). Since the Nexium

ANDA litigation was filed within 45 days of when AstraZeneca received notification of

Ranbaxy’s Paragraph IV certification, final approval of Ranbaxy’s ANDA was effectively stayed




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for thirty months (or until the court ruled that the patents at issue did not prevent the launch of

Ranbaxy’s Nexium products).

       228.    In addition, AstraZeneca subsequently sued Teva and Dr. Reddy’s for patent

infringement in 2006 and 2008, respectively, after those companies each filed paragraph IV

ANDAs seeking to market generic Nexium products.

       229.    On April 14, 2008, on or around the expiration of the 30-month stay on FDA

approval of Ranbaxy’s generic Nexium ANDA, Ranbaxy and AstraZeneca settled the Nexium

ANDA Litigation. Under the terms of the settlement agreement, AstraZeneca agreed to dismiss

its lawsuit against Ranbaxy in exchange for Ranbaxy agreeing to (1) admit that certain of

AstraZeneca’s Nexium-related patents were enforceable and valid; (2) admit that Ranbaxy’s

generic Nexium ANDA would infringe the Nexium-related patents; and (3) delay launching a

generic version of Nexium until May 27, 2014. Ranbaxy allegedly received additional

compensation, including in the form of lucrative manufacturing and distribution agreements and

marketing privileges.

       230.    It is unknown at this time the extent to which, if at all, Ranbaxy’s efforts in

gaining unlawful tentative approvals played into the agreement to delay entry of generic Nexium

until May 27, 2014. It is also unknown what impact a forfeiture of Ranbaxy’s first-to-file

exclusivity would have had on the efforts of other generic ANDA filers seeking to bring generic

Nexium to market. In any event, as a result of the April 2008 agreement any patent issues with

respect to the launch of generic Nexium had been resolved such that, if Ranbaxy was otherwise

in a position to gain final FDA approval, it should have been able to launch a generic Nexium

product on or about May 27, 2014, without repercussions from AstraZeneca.




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        231.   After settling with Ranbaxy, AstraZeneca settled its patent cases with Teva and

Dr. Reddy’s. On January 7, 2010 AstraZeneca settled with Teva, whereby, among other terms,

AstraZeneca agreed to dismiss its lawsuit against Teva and Teva agreed to make similar

admissions as Ranbaxy with respect to the Nexium-related patents and delay launching its

generic Nexium product until May 27, 2014. Similarly, on January 28, 2011, AstraZeneca

reached a similar settlement with Dr. Reddy’s, which terms included AstraZeneca agreeing to

drop the patent litigation and Dr. Reddy’s agreeing to refrain from challenging the Nexium-

related patents and to defer entering the market with its generic Nexium product until May 27,

2014.

        232.   Each of the patent litigation settlement agreements with Ranbaxy, Teva and Dr.

Reddy’s contained nearly identical contingent launch provisions which effectively committed

each generic manufacturer to refrain from launching generic Nexium until May 27, 2014 unless

another generic manufacturer found a way to legally enter the market on an earlier date.

        233.   The January 26, 2012 Consent Decree classified the Nexium ANDA as an

“Excepted Application.” After reviewing written submissions made by Ranbaxy under

paragraph XIV.A of the Consent Decree, the FDA notified Ranbaxy by letter dated May 4, 2012,

that the FDA would proceed with the evaluation of the audit reports submitted by Ranbaxy and

its experts for the Nexium ANDA.

        234.   However, Ranbaxy could not get the Paonta Sahib facility qualified to

manufacture generic Nexium in compliance with applicable regulations. Despite its inability to

manufacture the product within cGMP regulations, Ranbaxy continued for years to stubbornly

hold onto its blocking 180-day exclusivity for generic Nexium. After almost two years of




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additional delay, the adverse impact that Ranbaxy’s delay was having on healthcare consumers

was brought front and center.

       235.    In the spring of 2014, a series of citizen petitions were filed with the FDA. These

petitions pointed out that the ANDAs filed by other would-be generic companies were being

blocked by Ranbaxy’s wrongfully acquired 180-day exclusivity, including the generic Nexium

ANDA. The petitioners demanded that the FDA revoke Ranbaxy’s first-to-file exclusivity, and

that it approve other ANDAs in order to foster competition. One such citizen petition, submitted

May 5, 2014 by the law firm of Hyman, Phelps & McNamara, P.C., noted that the availability of

generic Nexium would save the State of New York’s Medicaid program approximately $83

million annually.

       236.    After Ranbaxy’s agreed-upon entry date of May 27, 2014 passed, consumer

groups and state officials submitted comments to the citizens petitions arguing for the FDA to

revoke Ranbaxy’s first-to-file exclusivity. For instance, in August 2014, the Consumer Federal

of California commented: “May 27, 2014 has come and gone [but] no generic esomeprazole

product has entered the market. Consumers remain bereft of the benefit of cost-saving generic

drugs until full generic entry into this market.” The group estimated that a 50 percent price

reduction for a generic substitute for Nexium “could save California consumers and health

insurance payers $375 million a year; nationwide savings could exceed $3 billion.”

       237.    The Attorney General for the State of Connecticut followed up in September,

2014, noting that “Ranbaxy’s actions have stalled FDA approval of any other generic drug

alternatives to AstraZeneca’s Nexium. Consumers, including the state of Connecticut’s health

programs, municipal and private payers and individual consumers have no access to more

affordable, lower-priced generic Nexium. The manifest result of this inaction is higher prices



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and a dead-stop bottleneck preventing more than a half-dozen generic drug manufacturers lined

up behind Ranbaxy from entering the market.”

         238.   On November 4, 2014, the FDA notified Ranbaxy that the FDA had erred in

tentatively approving the Nexium ANDA because “the compliance status of the facilities

referenced in the ANDA[] at the time the ANDA[] [was] granted tentative approval was

inadequate to support approval or tentative approval.” The FDA rescinded its previously granted

tentative approval of Ranbaxy’s Nexium ANDA.

         239.   On January 26, 2015, the FDA notified Ranbaxy that it had forfeited its eligibility

for 180-day exclusivity for generic Nexium. On the same date, the FDA issued final approval of

20mg/40 mg versions of Teva’s proposed generic Nexium product. Teva launched its generic

Nexium product a mere three weeks later, on our around February 17, 2015.

         240.   The FDA subsequently granted final approval to several additional manufacturers

seeking to bring generic Nexium products to market, including Mylan (August 2 and 3, 2015),

Dr. Reddy’s Labs (September 25, 2015), Torrent (October 19, 2015) and Aurobindo (April 21,

2016).

         241.   Were it not for Ranbaxy’s wrongful conduct, generic Nexium would have become

available at least as early as May 27, 2014, and all direct purchasers would have paid

substantially less for Nexium than they did. Among other things, if Ranbaxy had not wrongfully

acquired, maintained, or used the bottlenecking, 180-day exclusivity for Nexium, there would

have been no bottleneck for the entry of other generics, and other generic companies could and

would have entered the market for Nexium by gaining FDA approval, and launching generic

products, at least as early as May 27, 2014.




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       242.    The below is a summary of Nexium ANDA facts as they unfolded given

Ranbaxy’s unlawful conduct:




Y.     Ranbaxy sues the FDA.

       243.    On November 14, 2014, Ranbaxy sued the FDA and the Department of Health

and Human Services (“DHHS”) in the U.S. District Court for the District of Columbia, alleging

that the FDA overstepped its statutory authority and violated Ranbaxy’s constitutional rights by

revoking tentative approval for Ranbaxy’s Valcyte and Nexium ANDAs.

       244.    Ranbaxy sought injunctive relief, contending that the FDA’s revocation harmed it,

even though it admitted that it was not ready to come to market with generic versions of Nexium

or Valcyte. The loss of tentative approval would eliminate Ranbaxy’s ability to monetize its

first-to-file status, either by receiving payment from another generic company for a selective

waiver of its 180-day exclusivity, or through payments from the brand company in exchange for

Ranbaxy’s promise not to exercise its right to come to market.




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           245.    Ranbaxy’s primary argument against the FDA’s action was that, in passing the

MMA in 2003, Congress diminished the level of proof required for tentative approval as it

related to cGMP compliance.

           246.    Ranbaxy acknowledged that an applicant needed to prove certain items – e.g., its

generic drug was bioequivalent, and the labelling was the same – because 21 U.S.C.

§ 355(j)(2)(A) required that the ANDA contain “information to show” these preconditions were

met. But, according to Ranbaxy, the MMA eliminated the FDA’s long-standing requirement that

an applicant prove its manufacturing facilities were cGMP-compliant. Rather, Ranbaxy argued,

post-MMA, § 355(j)(2)(A) “merely requires ‘a full description of the methods used in, and the

facilities and controls used for, the manufacture, processing, and packing of such drug.’”

           247.    Ranbaxy claimed, under the post-MMA statutory scheme, that it need only

describe how it would eventually meet cGMP compliance; the statute did not require that

Ranbaxy actually be cGMP compliant to receive tentative approval.34

           248.    DHHS and the FDA moved immediately for summary judgment, arguing that

Ranbaxy’s interpretation of the law was meritless. As the FDA explained, Ranbaxy’s

interpretation conflated what was necessary for an ANDA to be “substantially complete,” such

that it may be received by the FDA, with what was required for tentative approval. Substantial

completeness requires merely that an ANDA “contains all of the information required by

paragraph (2)(A).” Tentative approval requires that the ANDA meet all of the requirements of

paragraph (2)(A). And, the FDA explained, 21 U.S.C. §355(j)(5)(B)(iv)(II)(dd)(AA), governing

an ANDA’s eligibility for tentative approval, requires that the “only obstacle keeping an ANDA

from receiving final approval – thereby compelling a tentative approval instead – must relate to


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     Compl., Ranbaxy v. Burwell, No. 14-cv-1923 (Dec. 22. 2014).

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timing,” that is, the existence of a period of exclusivity or a stay. Properly interpreted, the statute

requires an ANDA applicant to meet the cGMP compliance requirements to obtain tentative

approval.

       249.    The FDA admitted that its initial tentative approvals for the Valcyte and Nexium

ANDAs were granted in error – that it made a mistake. And it explained that the mistake was

caused by its reliance on Ranbaxy’s misrepresentations to the FDA, including Ranbaxy’s

purported resolution of its cGMP deficiencies and the purported lack of any false data in

ANDAs. As the FDA explained, Ranbaxy’s 2007 representations that it had resolved its cGMP

issues were false: “Ranbaxy’s CGMP problems at Paonta Sahib were so significant they remain

unresolved today (more than seven years after [the relevant] tentative approval letter was

issued).”

       250.    And the FDA explained that the delay in rescinding tentative approval – and

therefore the delay in permitting generic entry by other manufacturers’ generic Valcyte and

Nexium – “was largely of Ranbaxy’s own doing,” based on Ranbaxy’s obfuscation and delay.

       251.    In February 2015, the court agreed with the FDA, rejecting Ranbaxy’s

interpretation of the tentative approval statutes – the same interpretation it had urged the FDA to

adopt in 2007 – because it “would, quite simply, lead to absurd results in at least two ways.”

       252.    First, the court explained, Ranbaxy’s interpretation would mean that any

description of methods, facilities and controls used in manufacture would suffice – even if an

applicant “state[d] in its ANDA that it planned to manufacture a generic drug in an outhouse

behind the applicant’s house using a child’s chemistry set.” Under Ranbaxy’s interpretation,

“the FDA would have no power to deny tentative approval to that application on the grounds that




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the applicant could never, as submitted, be granted final approval since the application does not

comply with cGMP.”

            253.     Second, the court explained, Ranbaxy’s interpretation would lead to the “patently

absurd” result that the FDA “could not withhold tentative approval of an ANDA even if the FDA

knew . . . that the ANDA contained an untrue statement of material fact.”35 The court observed

that Ranbaxy could not “argue seriously that the FDA is prevented from denying tentative

approval to an ANDA in such circumstances.”

            254.     Ranbaxy’s misconduct could not be used as an excuse to overcome clear

regulatory requirements. The problems that had plagued Ranbaxy for years, leading to the

consent decree, the criminal plea, and the civil settlement supported the FDA’s determination

that Ranbaxy had fraudulently obtained tentative approvals to which it was not entitled.

Z.          Sun Pharma acquires Ranbaxy.

            255.     On April 6, 2014, Sun Pharma and Ranbaxy Labs announced that they had

entered into an agreement pursuant to which Sun Pharma would acquire Ranbaxy in an all-stock

merger transaction. The boards of directors of both companies approved the transaction that

same day.

            256.     The Scheme of Arrangement approved by the companies and pursuant to which

the merger took place provides that:

                     All the liabilities including all secured and unsecured debts, whether
                     in Indian rupees or foreign currency), sundry creditors, contingent
                     liabilities, duties, obligations and undertakings of [Ranbaxy
                     Laboratories Limited] of every kind, nature and description
                     whatsoever and howsoever arising, raised or incurred or utilized for
                     its business activities and operations (the “Liabilities”) shall,
                     without any further act, instrument or deed, be and the same shall
                     stand transferred to and vested in or deemed to have been transferred

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     Id. at 51-52.

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               to and vested in the Transferee Company without any further act,
               instrument or deed, along with any charge, lien, encumbrance or
               security thereon….

       257.    On May 6, 2014, Sun Pharma and Ranbaxy Labs provided notice of the proposed

merger to the Competition Commission of India. After investigating the proposed merger, the

Commission approved it on December 5, 2014, subject to the companies’ divesture of certain

products. Sun Pharma and Ranbaxy Labs also agreed to divest Ranbaxy Labs’ generic

minocycline tablets to Torrent Pharmaceuticals, in response to a complaint brought by the U.S.

Federal Trade Commission.

       258.    Sun Pharma completed its acquisition of Ranbaxy on or about March 25, 2015,

and now owns Ranbaxy. Ranbaxy Labs is no longer listed on the Indian Stock Exchanges.

                  VI.     MARKET POWER AND MARKET DEFINITION

       259.    Ranbaxy wrongfully acquired, locked in, and used market power over the markets

for valsartan, valganciclovir hydrochloride, and esomeprazole magnesium or narrower markets

contained therein.

       260.    The Hatch-Waxman Amendments empower the holder of a lawfully acquired

first-to-file, 180-day exclusivity to exclude all other would-be generics from gaining ANDA

approval of their applications until expiration of the exclusivity. This exclusivity enables the

holder to exert market power in several ways.

       261.    First, the holder of the 180-day exclusivity largely has the ability to determine

when the first generic entrant will appear in the market. Of course, as a general rule generic

companies seek to enter the market at the earliest reasonable time they can, close on the heels of

promptly acquired FDA approval, and as soon as patent obstacles might be removed. But since

ANDA filers who are behind a locked-in, 180-day exclusivity generally must wait for the

exclusivity to lapse, the first filer has the ability to control when generics enter. (For example, in

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some circumstances the holder of the 180-day exclusivity might reach an agreement with the

brand company to delay the first filer’s entry and get, in exchange, a large payment. By doing so

the first filer delays not only its entry, but the entry of all other generic applicants. The first filer

thus is able to provide the brand company with the ability to charge supra-competitive prices for

branded versions of the drugs for longer than it would have otherwise been able, and in exchange

get paid off to do so).

        262.    Second, the holder of the 180-day exclusivity largely has the power, once the first

generic enters, to exclude other ANDA-based generic manufacturer’s products from entering

those markets. The first filer thus has the ability to capture an overwhelming majority of the

market in a very short span of time.

        263.    Third, since the first filer is the only ANDA-approved generic on the market for

the first six months, during that time it can charge much higher prices that are close to, albeit

lower than, the brand price. And it can do this without losing substantial sales to other products

prescribed and/or used for the same purposes, including brand name versions of the drug.

        264.    Valganciclovir hydrochloride tablets, valsartan tablets and esomeprazole

magnesium capsules do not exhibit significant, positive cross-elasticity of demand with respect

to price with any product other than their AB-rated generic equivalents.

        265.    A small, but significant, non-transitory price increase for these drugs by Ranbaxy

would not have caused a significant loss of sales to other medications, and would not have made

such a price increase unprofitable.

        266.    Valsartan is an angiotension II receptor antagonist (commonly referred to as an

“ARB”), approved by the FDA for the treatment of hypertension and heart failure, as well as to

reduce cardiovascular mortality in patients with problems of the left ventricle of the heart



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following myocardial infarction. The FDA approved the drug for sale in 2001. Novartis brought

it to market under the brand name Diovan. In 2003, U.S. sales of Diovan were $632 million; by

2008 sales had reached $1.2 billion; by 2012 sales had reached $1.9 billion; and in 2013 they

exceeded $2.1 billion. There is no reasonably interchangeable drug product (other than branded

Diovan) for the indications for which valsartan is prescribed. Valsartan has attributes

significantly differentiating it from other medications for similar indications, making it unique.

Because, among other reasons, it was the only drug approved to treat a trio of conditions –

hypertension, high-risk heart attack survivors, and patients with heart failure – valsartan is

differentiated from all products other than the brand name version of the drug, Diovan.

       267.    Valganciclovir hydrochloride is an orally administered antiviral medication,

approved by the FDA for the treatment of cytomegalovirus (“CMV”) retinitis in AIDS patients

and for the prevention of CMV disease in organ transplant recipients. It is one of only two drugs

approved for the treatment of CMV in kidney transplant patients. The FDA approved the drug

for sale in the United States in 2001. Roche, brought it to market in tablet form under the brand

name Valcyte. In 2008, U.S. sales of Valcyte were $160 million; and by 2013 that figure had

reached $500 million. There is no reasonably interchangeable drug product (other than branded

Valcyte) for the indications for which valganciclovir hydrochloride is prescribed. Valganciclovir

hydrochloride has superior bioavailability to the other CMV drug, called ganciclovir, meaning

that patients can take smaller doses of the drug, less often. And, unlike other medications for the

treatment of CMV, which must be administered intravenously, Valcyte tablets can be taken

orally. According to Roche, Valcyte satisfied a long-felt, but unsatisfied need, in the drug

marketplace. Roche has called it the “gold standard,” the “drug of choice,” the “treatment of

choice,” and the “standard of care” for the prevention and treatment of CMV disease. In its 2004



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annual report, Roche reported that Valcyte remained “the leading drug for the treatment of CMV

retinitis in HIV patients.” Valganciclovir hydrochloride is therefore differentiated from all

products other than its brand name equivalent.

       268.    Esomeprazole magnesium is a proton pump inhibiter (PPI) prescribed to treat

heartburn and related conditions. The FDA approved the drug for sale in the United States in

2001. AstraZeneca brought it to market in tablet form under the brand name Nexium, which

produced annual U.S. sales of approximately $3 billion. Nexium’s pharmacological profile, its

side effect and efficacy profile is different than other proton pump inhibitors, H2 blocks and non-

prescription antacids used to treat the same or similar conditions. These other drugs are not AB-

rated to Nexium, cannot automatically be substituted for Nexium by pharmacists and do not

exhibit cross-price elasticity of demand with respect to Nexium. Esomeprazole magnesium is

therefore differentiated from all products other than its brand name equivalent.

       269.    The pharmaceutical marketplace is characterized by a disconnect between the

payment obligation and the product selection. State laws prohibit pharmacists from dispensing

many pharmaceutical products – including valsartan, valganciclovir hydrochloride and

esomeprazole magnesium – to patients without a prescription written by a doctor. This

prohibition divorces the payment obligation and the product selection: the patient (and in most

cases, his or her insurer) has the obligation to pay for the pharmaceutical product, but the

patient’s doctor chooses which product the patient will buy.

       270.    Studies show that doctors typically are not aware of the relative costs of

pharmaceuticals, and, even when they are, they are insensitive to price differences because they

do not have to pay for the products.




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       271.    Thus, unlike many consumer products, where consumers are provided with a

choice of functionally similar products at the point of sale and make purchasing decisions

primarily based on price, the initial purchasing decision for prescription drugs is made by the

physician, not by consumers of these products.

       272.    To be a substitute for antitrust purposes, a functionally similar product must exert

sufficient pressure on prices and sales of another product, so that the price of that product cannot

be maintained above levels that would be maintained in a competitive market. No other

antiviral medication (except for AB-rated generic versions of Valcyte), no other ARB (except for

AB-rated generic versions of Diovan), and no other PPI (except for AB-rated generic versions of

Nexium) will, or would, take away sufficient sales from these drugs to prevent Ranbaxy from

raising or maintaining the price of its AB-rated generic equivalent above levels that would

prevail in a competitive market.

       273.    Ranbaxy needed to control only its AB-rated generic equivalent, and no other

products, in order to maintain the price of its product profitably at supra-competitive prices while

preserving all or virtually all of its sales. Only the market entry of a competing, AB-rated

generic version of Ranbaxy’s product would render Ranbaxy unable to profitably maintain its

supra-competitive prices without losing substantial sales.

       274.    Ranbaxy also sold its generic products at prices well in excess of marginal costs,

and substantially in excess of the competitive price, and enjoyed high profit margins.

       275.    Ranbaxy has had, and exercised, the power to exclude competition from each of

the relevant markets.

       276.    To the extent that the purchasers are legally required to prove market power

circumstantially by first defining a relevant product market, the purchasers allege that the



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relevant markets are: (a) all valsartan tablets – i.e., Diovan (in all its forms and dosage strengths)

and AB-rated bioequivalent valsartan tablets; (b) all valganciclovir hydrochloride tablets – i.e.,

Valcyte (in all its forms and dosage strengths) and AB-rated bioequivalent valganciclovir

hydrochloride tablets; and (c) all esomeprazole magnesium tablets – i.e., Nexium (in all its forms

and dosage strengths) and AB-rated bioequivalent esomeprazole magnesium tablets. During the

period relevant to this case, Ranbaxy has been able to control competition in these markets and

profitably maintain the price of these products well above competitive levels.

       277.    Ranbaxy, at all relevant times, enjoyed high barriers to entry with respect to

competition to the above defined relevant market due to patent and other regulatory protections,

and high costs of entry and expansion.

       278.    The relevant geographic market is the United States and its territories.

                                   VII.    MARKET EFFECTS

       279.    Ranbaxy, acting alone and/or in concert with Beardsley and Parexel, willfully and

unlawfully maintained its market power by engaging in an overarching scheme to exclude

competition. Ranbaxy designed this scheme, which discouraged, rather than encouraged,

competition on the merits, for the anticompetitive purpose of forestalling generic competition,

and carried out the scheme with the anticompetitive effect of maintaining supra-competitive

prices for the relevant product. Ranbaxy implemented its scheme by, inter alia, filing,

maintaining, and pursuing ANDAs for drugs that it knew it was unlikely to ever be able to bring

to market. It continued its scheme by engaging in a protracted series of misrepresentations and

falsehoods to secure tentative approvals to which it was not lawfully entitled. It used the

deceptively obtained first-to-file exclusivity both as leverage in settlements with brand

companies that secured benefits for itself and delayed generic entry far longer than would have

otherwise occurred, and as a means of excluding other generics from entering the market. And
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its deficient manufacturing operations, which it shielded from FDA scrutiny when obtaining the

tentative approvals, resulted in Ranbaxy being unable to bring its generic drugs to market in a

timely manner. These acts in combination and individually were all undertaken to serve

Ranbaxy’s anticompetitive goals.

       280.    Ranbaxy’s acts and practices, including its conspiracy with Beardsley and

Parexel, had the purpose and effect of restraining competition unreasonably and injuring

competition by protecting its generic products from other generic competition. Ranbaxy’s

actions, including its conspiracy with Beardsley and Parexel, allowed it to maintain a monopoly

and exclude competition in the markets for the aforementioned drugs, i.e., Diovan, Valcyte,

Nexium, and their AB-rated generic equivalents, to the detriment of the purchasers and all other

members of the direct purchaser class.

       281.    Ranbaxy’s exclusionary conduct, including its conspiracy with Beardsley and

Parexel, has delayed generic competition and unlawfully enabled it to sell its generic products

without generic competition. But for Ranbaxy’s illegal conduct, one or more generic

competitors would have begun marketing AB-rated generic versions of these drugs much sooner

than they actually were marketed.

       282.    By way of examples and not limitation, in the absence of Ranbaxy’s conduct,

along and in concert with Beardsley and Parexel: (i) Ranbaxy would not have obtained first-to-

file bottlenecking exclusivity for Diovan, Valcyte, and Nexium and would not have been able to

trade that status into settlements with the brand companies, which delayed generic entry for years

into the future; (ii) Ranbaxy would not have received tentative approval of its Diovan, Valcyte,

or Nexium ANDAs within the time period established by applicable regulations, but would have

forfeited its 180-day exclusivity, thereby removing a substantial barrier to the market entry of



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multiple other generic companies; and (iii) other generic ANDA filers would have known, in

October 2007 for Diovan, in February 2008 for Nexium, and in June 2008 for Valcyte, that there

would be no generic ANDA applicant entitled to 180-day exclusivity, which would have

incentivized other ANDA filers to proceed more rapidly with their own ANDA efforts for those

drugs.

         283.   Other generic manufacturers seeking to sell generic Diovan and/or Valcyte all had

extensive experience in the pharmaceutical industry, including in obtaining approval for ANDAs

and marketing generic pharmaceutical products, and at least several of these generic

manufacturers would have been ready, willing, and able to effectuate earlier launches of their

generic versions of Diovan (no later than September 21, 2012), Valcyte (no later than March 15,

2013), and Nexium (no later than May 27, 2014) were it not for Ranbaxy’s illegal and unlawful

acts and conspiracies with Beardsley and Parexel.

         284.   Ranbaxy’s illegal acts and conspiracies with Beardsley and Parexel to delay the

introduction into the U.S. marketplace of any other generic versions of Diovan, Valcyte, and

Nexium caused the purchasers and all members of the class to pay more than they would have

paid for these drugs (both branded and, eventually, generic versions), absent this illegal conduct.

         285.   Typically, generic versions of brand-name drugs are initially priced significantly

below the branded counterpart. As a result, upon generic entry, direct purchasers substitute

generic versions of the drug for some or all of their purchases. As more generic manufacturers

enter the market, prices for generic versions of a drug predictably plunge even further because of

competition among the generic manufacturers, and, correspondingly, the brand name drug

continues to lose even more market share to the generics. This price competition enables all

direct purchasers of the drugs to purchase generic versions of a drug at a substantially lower



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price, and/or purchase the brand name drug at a reduced price. Consequently, brand name drug

manufacturers have a keen financial interest in delaying the onset of generic competition.

Generic companies holding first-to-file exclusivity likewise have a keen financial interest in

delaying their entry into the market in exchange for a share of the monopoly profits that their

delay makes possible. And purchasers experience substantial cost inflation from these delays.

       286.    If generic competitors had not been unlawfully prevented from entering the

market earlier and competing in the relevant markets, direct purchasers, such as the purchasers

and members of the class, would have paid less for these drugs by (a) receiving discounts on

their remaining brand purchases of these drugs, (b) substituting purchases of less-expense

generic versions for their purchases of more-expensive brand versions, and/or (c) purchasing the

generic versions of these drugs at lower prices sooner.

       287.    Moreover, due to Ranbaxy’s fraud, other generic manufacturers were discouraged

from and/or delayed in developing their own generic versions of these drugs, and/or challenging

the validity or infringement of the patents purporting to cover these drugs in court.

       288.    Thus, Ranbaxy’s unlawful conduct deprived the purchasers and the members of

the direct purchaser class of the benefits from competition that the antitrust laws were designed

to ensure.

     VIII. ANTITRUST IMPACT AND IMPACT ON INTERSTATE COMMERCE

       289.    During the relevant period, the purchasers and members of the direct purchaser

class purchased substantial amounts of Diovan, Valcyte, and Nexium directly from their branded

manufacturers and/or purchased substantial amounts of generic versions of Diovan, Valcyte, and

Nexium directly from Ranbaxy and other manufacturers. As a result of Defendants’ illegal

conduct, members of the direct purchaser class were compelled to pay, and did pay, artificially

inflated prices for their drug requirements on these purchases. Those prices were substantially
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greater than the prices that members of the direct purchaser class would have paid absent the

illegal conduct alleged herein, because: (1) the price of brand-name Diovan, Valcyte, and

Nexium was artificially inflated by Defendants’ illegal conduct; (2) direct purchaser class

members were deprived of the opportunity to purchase lower-priced generic versions of Diovan,

Valcyte and Nexium sooner; and/or (3) the price of generic Diovan, Valcyte, and Nexium was

artificially inflated by Defendants’ illegal conduct.

       290.    As a consequence, the purchasers and members of the direct purchaser class have

sustained substantial losses and damage to their business and property. The full amount, form,

and components of such damages will be calculated after discovery and upon proof at trial.

       291.    Ranbaxy’s efforts to monopolize and restrain competition in the market for these

drugs have substantially affected interstate and foreign commerce.

       292.    At all material times, Ranbaxy manufactured, promoted, distributed, and sold,

and/or prevented the manufacturing, promotion, distribution, and sale of, substantial amounts of

these drugs in a continuous and uninterrupted flow of commerce across state and national lines

and throughout the United States.

       293.    At all material times, Ranbaxy transmitted funds as well as contracts, invoices and

other forms of business communications and transactions in a continuous and uninterrupted flow

of commerce across state and national lines in connection with the sale of these drugs.

       294.    In furtherance of their efforts to monopolize and restrain competition in the

market for these drugs, Ranbaxy employed the U.S. mail and interstate and international wire

lines, as well as means of interstate and international travel. Ranbaxy’s activities were within the

flow of and have substantially affected interstate commerce.




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                           IX.     CLASS ACTION ALLEGATIONS

       295.    The purchasers, on behalf of themselves and all direct purchaser class members,

seek damages, trebled, against Defendants based on allegations of anticompetitive and fraudulent

conduct in the market for Diovan, Valcyte, Nexium, and their AB-rated generic equivalents.

       296.    The purchasers bring this action on behalf of themselves and, under Federal Rule

of Civil Procedure 23(a) and (b)(3), as a representative of a direct purchaser class defined as

follows:

               All persons or entities in the United States and its territories who
               purchased Diovan and/or AB-rated generic versions of Diovan
               directly from any of the Defendants or any brand or generic
               manufacturer at any time during the period September 21, 2012,
               through and until the anticompetitive effects of the Defendants’
               conduct cease (the “Diovan Class Period”);

               All persons or entities in the United States and its territories who
               purchased Valcyte and/or AB-rated generic versions of Valcyte
               directly from any of the Defendants or any brand or generic
               manufacturer at any time during the period March 15, 2013, through
               and until the anticompetitive effects of the Defendants’ conduct
               cease (the “Valcyte Class Period”); and

               All persons or entities in the United States and its territories who
               purchased Nexium and/or AB-rated generic versions of Nexium
               directly from any of the Defendants or any brand or generic
               manufacturer at any time during the period May 27, 2014, through
               and until the anticompetitive effects of the Defendants’ conduct
               cease (the “Nexium Class Period”).

Excluded from the direct purchaser class are Defendants and their officers, directors,

management, employees, subsidiaries, or affiliates, and all governmental entities. At the class

certification stage (and absent changed circumstances), three sub-classes of the class (one for

purchasers of each of the three drugs) will be sought. The allegations here are equally applicable

to the class and each sub-class.




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        297.    Members of the direct purchaser class are so numerous that joinder is

impracticable. The purchasers believe that the class numbers in the many scores of entities.

Further, the direct purchaser class is readily identifiable from information and records in

Defendants’ possession.

        298.    The purchasers’ claims are typical of the claims of the members of the direct

purchaser class. The purchasers and all members of the direct purchaser class were damaged by

the same wrongful conduct of the Defendants, i.e., they paid artificially inflated prices for

valganciclovir hydrochloride, valsartan, and esomeprazole magnesium and were deprived of

earlier and more robust competition from cheaper generic versions of Diovan, Valcyte, and

Nexium as a result of Defendants’ wrongful conduct.

        299.    The purchasers will fairly and adequately protect and represent the interests of the

direct purchaser class. The interests of the purchasers are coincident with, and not antagonistic

to, those of the direct purchaser class.

        300.    The purchasers are represented by counsel with experience in the prosecution of

class action antitrust litigation, and with particular experience with class action antitrust litigation

involving pharmaceutical products.

        301.    Questions of law and fact common to the members of the direct purchaser class

predominate over questions that may affect only individual class members because Defendants

have acted on grounds generally applicable to the entire direct purchaser class thereby making

damages with respect to the direct purchaser class as a whole appropriate. Such generally

applicable conduct is inherent in Defendants’ wrongful conduct.

        302.    Questions of law and fact common to the direct purchaser class include:

        a.      whether Ranbaxy willfully obtained and/or maintained market power over
                Diovan and its generic equivalents;

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       b.      whether Ranbaxy willfully obtained and/or maintained market power over
               Valcyte and its generic equivalents;

       c.      whether Ranbaxy willfully obtained and/or maintained market power over
               Valcyte and its generic equivalents;

       d.      whether Ranbaxy unlawfully excluded competitors and potential
               competitors from the market for Diovan, Valcyte, Nexium and their AB-
               rated generic bioequivalents;

       e.      whether Ranbaxy unlawfully delayed or prevented generic manufacturers
               from coming to market in the United States;

       f.      whether Ranbaxy maintained market power, itself and/or in conspiracy
               with Beardsley and Parexel, by delaying generic entry;

       g.      whether the law requires definition of a relevant market when direct proof
               of market power is available, and if so the definition of the relevant
               market;

       h.      whether Ranbaxy’s activities as alleged herein have substantially affected
               interstate commerce;

       i.      whether, and if so to what extent, Ranbaxy’s conduct caused antitrust
               injury to the plaintiffs and the members of the class; and

       j.      the quantum of aggregate damages to the class.

       303.    Class action treatment is a superior method for the fair and efficient adjudication

of the controversy. Such treatment will permit a large number of similarly-situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of evidence, effort, or expense that numerous individual actions would

engender. The benefits of proceeding through the class mechanism, including providing injured

persons or entities a method for obtaining redress on claims that could not practicably be pursued

individually, substantially outweighs potential difficulties in management of this class action.

       304.    The purchasers know of no special difficulty to be encountered in the

maintenance of this action that would preclude its maintenance as a class action.




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                                  X.      CLAIMS FOR RELIEF

                    COUNT ONE - VIOLATION OF SECTION 2 OF THE
                              SHERMAN ACT (15 U.S.C. § 2)
                      (Asserted Against All Defendants as to Valsartan)

        305.    Plaintiffs repeat and incorporate by reference all preceding paragraphs and

allegations.

        306.    As described above, from September 21, 2012, until at least January 5, 2015 (and

with effects lasting far longer), Ranbaxy possessed market power in the market for valsartan. No

other generic manufacturer sold a competing version of valsartan, before January 5, 2015.

        307.    Ranbaxy willfully and unlawfully maintained its market power in the valsartan

market from September 21, 2012, through at least January 5, 2015, by engaging in an

anticompetitive scheme to keep generic equivalents from the market – not as a result of

providing a superior product, business acumen, or historical accident.

        308.    Ranbaxy knowingly and intentionally engaged in an anticompetitive scheme

designed to block and delay entry of other AB-rated generic versions of valsartan to maintain its

market power. This scheme included:

        a.      Filing, pursuing, and maintaining ANDAs based upon falsified information;
        b.      Making repeated fraudulent statements to the FDA, with the specific purpose,
                intent, and effect of having the FDA rely upon those fraudulent statements in
                allowing Ranbaxy to secure tentative and final approval for its ANDAs; and
        c.      Using its fraudulently obtained first-to-file exclusivity to keep other generic
                manufacturers out of the market.

        309.    By means of this scheme, Ranbaxy intentionally and wrongfully maintained

market power with respect to valsartan in violation of Section 2 of the Sherman Act. As a result

of this unlawful maintenance of market power, plaintiffs and members of the class paid

artificially inflated prices for their valsartan tablet requirements.



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       310.    Plaintiffs and members of the class have been injured in their business or property

by Ranbaxy’s antitrust violations. Their injury consists of, inter alia, having paid, and

continuing to pay, higher prices for their valsartan tablet requirements than they would have paid

in the absence of those violations. Such injury is of the type antitrust laws were designed to

prevent and flows from that which makes Ranbaxy’s conduct unlawful, and the plaintiffs and the

class are the proper entities to bring a case concerning this conduct.

       311.    Ranbaxy’s anticompetitive conduct is not entitled to qualified Noerr-Pennington

immunity.

       312.    Ranbaxy engaged in a knowing, direct fraud against a governmental entity (the

FDA), that was empowered to grant a lawful period of market exclusivity (180-days market

exclusivity to the first generic filer to submit a substantially complete ANDA, so long as that

generic filer obtained tentative approval within 30 months of filing). Through a series of

misrepresentations, fraud, and deceit, Ranbaxy deceived the FDA into believing that Ranbaxy’s

manufacturing and production operations were in compliance with applicable regulations, and

that its data was reliable, when Ranbaxy knew that this was not true. In reliance upon these

fraudulent statements, the FDA granted Ranbaxy a period of exclusivity to which it was not

lawfully entitled. And, Ranbaxy asserted this wrongfully-obtained exclusivity to exclude

competition from the marketplace.

       313.    Ranbaxy knowingly and intentionally engaged in sham petitioning before the

FDA, making repeated misstatements concerning, inter alia, its manufacturing facilities,

compliance with cGMP, and the reliability of its data, all designed to intentionally and

deceptively convince the FDA to grant it first-to-file exclusivity, which it intended to, and did,




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use to keep (a) all generic competition (including itself) out of the market for an extended period

of time, and (b) other generic competitors off the market for at least an additional 180 days.

        314.      For each of the relevant ANDAs that Ranbaxy filed, Ranbaxy knew at the time it

filed that it had no realistic likelihood of success; that is, no realistic likelihood that the FDA

would, absent fraudulent conduct on the part of Ranbaxy, accept the ANDA as being

substantially complete and in compliance with applicable regulations. And for each relevant

ANDA that Ranbaxy maintained, Ranbaxy knew that it had no realistic likelihood of success;

that is, no realistic likelihood that that the FDA would, absent Ranbaxy’s fraud, grant tentative or

final approval to the ANDA.

        315.      Ranbaxy knew, therefore, that no reasonable pharmaceutical manufacturer would

have believed it had a reasonable chance of ultimately succeeding on the merits of its ANDA

filings. Ranbaxy filed these ANDAs for the purposes of using a governmental process

(including the 180-day exclusivity associated with the FDA’s acceptance and tentative approval)

to obtain an exclusivity to which it was not entitled, as an anticompetitive weapon to keep other

generics off the market.

                     COUNT TWO - VIOLATION OF SECTION 2 OF THE
                             SHERMAN ACT (15 U.S.C. § 2)

               (Asserted Against All Defendants as to Valganciclovir Hydrochloride)

        316.      Plaintiffs repeat and incorporate by reference all preceding paragraphs and

allegations.

        317.      As described above, from March 15, 2013, until at least November 20, 2014 (and

with effects lasting far longer), Ranbaxy possessed market power in the market for

valganciclovir hydrochloride. No generic manufacturer, including Ranbaxy, sold any version of

valganciclovir hydrochloride tablets until November 20, 2014.


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       318.     Ranbaxy willfully and unlawfully maintained its market power in the

valganciclovir hydrochloride market from March 15, 2013, through at least November 20, 2014,

by engaging in an anticompetitive scheme to keep generic equivalents from the market – not as a

result of providing a superior product, business acumen, or historical accident.

       319.     Ranbaxy knowingly and intentionally engaged in an anticompetitive scheme

designed to block and delay entry of other AB-rated generic versions of valganciclovir

hydrochloride to maintain its market power. This scheme included:

       a.       Filing, pursuing, and maintaining ANDAs based upon falsified information;
       b.       Making repeated fraudulent statements to the FDA, with the specific purpose,
                intent, and effect, of having the FDA rely upon those fraudulent statements in
                allowing Ranbaxy to secure tentative and final approval for its ANDAs; and
       c.       Using its fraudulently obtained first-to-file exclusivity to keep other generic
                manufacturers out of the market.

       320.     By means of this scheme, Ranbaxy intentionally and wrongfully maintained

market power with respect to valganciclovir hydrochloride tablets in violation of Section 2 of the

Sherman Act. As a result of this unlawful maintenance of market power, plaintiffs and members

of the class paid artificially inflated prices for their valganciclovir hydrochloride tablet

requirements.

       321.     Plaintiffs and members of the class have been injured in their business or property

by Ranbaxy’s antitrust violations. Their injury consists of, inter alia, having paid, and

continuing to pay, higher prices for their valganciclovir hydrochloride tablet requirements than

they would have paid in the absence of those violations. Such injury is of the type antitrust laws

were designed to prevent, flows from that which makes Ranbaxy’s conduct unlawful, and

plaintiffs and the class are the proper entities to bring a case concerning this conduct.

       322.     Ranbaxy’s anticompetitive conduct is not entitled to qualified Noerr-Pennington

immunity.

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       323.    Ranbaxy engaged in a knowing, direct fraud against a governmental entity (the

FDA), which was empowered to grant a period of market exclusivity (180-days market

exclusivity to the first generic filer to submit a substantially complete ANDA, so long as that

generic filer obtained tentative approval within 30 months of filing). Through a series of

misrepresentations, fraud, and deceit, Ranbaxy was able to deceive the FDA into believing that

Ranbaxy’s manufacturing and production operations were in compliance with applicable

regulations, and that its data was reliable when Ranbaxy knew that this was not true. In reliance

upon these fraudulent statements, the FDA granted Ranbaxy a period of exclusivity to which it

was not lawfully entitled. And, Ranbaxy asserted this wrongfully-obtained exclusivity to

exclude completion from the marketplace.

       324.    Ranbaxy knowingly and intentionally engaged in sham petitioning before the

FDA, making repeated misstatements concerning, inter alia, its manufacturing facilities,

compliance with cGMP, and the reliability of its data, all designed to intentionally and

deceptively convince the FDA to grant Ranbaxy first-to-file exclusivity, which it intended to,

and did, use to keep (a) all generic competition (including itself) out of the market for an

extended period of time, and (b) other generic competitors off the market for at least an

additional 180 days.

       325.    For each ANDA Ranbaxy filed, Ranbaxy knew at the time it filed that it had no

realistic likelihood of success; that is, no realistic likelihood that the FDA would, absent

fraudulent conduct on the part of Ranbaxy, accept the ANDA as being substantially complete

and in compliance with applicable regulations. And for each ANDA Ranbaxy maintained,

Ranbaxy knew that it had no realistic likelihood of success; that is, no realistic likelihood that

that the FDA would, absent Ranbaxy’s fraud, grant tentative or final approval to the ANDA.



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       326.     Ranbaxy knew, therefore, that no reasonable pharmaceutical manufacturer would

have believed it had a reasonable chance of ultimately succeeding on the merits of its ANDA

filings. Ranbaxy filed these ANDAs for the purposes of using a governmental process

(including the 180-day exclusivity associated with the FDA’s acceptance and tentative approval)

as an anticompetitive weapon to keep other generics off the market.

                COUNT THREE - VIOLATION OF RICO, 18 U.S.C. § 1962(c)

               (Asserted Against Ranbaxy Labs, Ranbaxy Inc., and Sun Pharma)

       327.     Plaintiffs repeat and incorporate by reference all preceding paragraphs and

allegations.

       328.     Defendant Ranbaxy Labs is a “person” within the meaning of 18 U.S.C. § 1961(3)

who conducted the affairs of an enterprise, the Ranbaxy ANDA Enterprise, through a pattern of

racketeering activity, in violation of 18 U.S.C. § 1962(c).

       329.     Defendant Ranbaxy Inc. is a “person” within the meaning of 18 U.S.C. § 1961(3)

who participated in the conduct of the affairs of the Ranbaxy ANDA Enterprise, through a

pattern of racketeering activity, in violation of 18 U.S.C. § 1962(c).

       330.     The Ranbaxy ANDA Enterprise is an association-in-fact within the meaning of 18

U.S.C. § 1961(4), consisting of: (i) Defendant Ranbaxy Labs, including its employees and

agents; (ii) Defendant Ranbaxy Inc., including its employees and agents; (iii) the law firm of Buc

& Beardsley LLP, including its employees and agents; and (iv) Parexel Consulting LLC,

including its employees and agents. The Ranbaxy ANDA Enterprise was created and/or used as

a tool to effectuate a pattern of racketeering activity. The defendant “persons” are distinct from

the Ranbaxy ANDA Enterprise.

       331.     The Ranbaxy ANDA Enterprise fits within the meaning of 18 U.S.C. § 1961(4)

and consists of a group of “persons” that created and maintained systematic links for a common
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purpose: to aid in protecting and profiting from Ranbaxy’s first-to-file status associated with a

number of Ranbaxy ANDAs – including the ANDAs for generic Diovan and Valcyte – by

misleading, through affirmative statements and omissions, the FDA regarding the compliance

status of Ranbaxy’s Paonta Sahib facility, the truthfulness of the data contained within the

ANDAs, and the completeness of the ANDAs.

       332.    Defendants have conducted and participated in the affairs of the Ranbaxy ANDA

Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1)

and 1961(5), which includes multiple instances of mail fraud in violation of 18 U.S.C. §§ 1341,

and multiple instances of wire fraud in violation of 18 U.S.C. § 1343, and travel in interstate and

foreign commerce in aid of racketeering enterprises in violation of 18 U.S.C. § 1952, as

described above.

       333.    Beardsley participated in the conduct of the Ranbaxy ANDA Enterprise’s affairs,

sharing the common purpose to enable Ranbaxy to unlawfully obtain 180-day exclusivity for

Diovan and Valcyte, and potentially for other drugs. Ranbaxy and Beardsley knew that Ranbaxy

alone could not conceal unfavorable facts regarding the state of its Paonta Sahib facility.

Ranbaxy and Beardsley also knew that the damning conclusions of Parexel’s audit reports, if

funneled through a law firm, could be cloaked in frivolous claims of attorney work product.

Ranbaxy and Beardsley knew that Ranbaxy needed to recruit an attorney or law firm willing to

aid in that concealment. Ranbaxy found a willing and knowing participant in Beardsley.

       334.    Beardsley knowingly made material misstatements to the FDA in furtherance of

the fraudulent scheme regarding: (1) the state of Ranbaxy’s cGMP compliance, (2) Ranbaxy’s

efforts (or lack thereof) to remediate those compliance issues, (3) the extent to which those

cGMP violations affected the integrity of Ranbaxy’s pending ANDA submissions, and (4) the



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extent to which Parexel’s audits were shielded from FDA scrutiny by the attorney-client

privilege or attorney work product doctrine. Beardsley transmitted some of those statements via

mail or wire, with the intent to aid Ranbaxy in wrongfully securing its first-to-file ANDA

tentative approvals. And the firm aided Ranbaxy’s fraudulent endeavors through multiple

communications with the FDA and assertions of attorney-client privilege and attorney work

product, knowing that Ranbaxy intended to – and did – use these contributions in furtherance of

its scheme to defraud the FDA.

       335.    Parexel also participated in the conduct of the Ranbaxy ANDA Enterprise’s

affairs, and shared Ranbaxy’s common purpose to unlawfully obtain 180-day exclusivity for

Diovan and Valcyte, and potentially for other drugs. Ranbaxy, Beardsley, and Parexel knew

that, without assistance, Ranbaxy could not successfully dupe the FDA into believing that the

compliance issues had been satisfactorily addressed. Ranbaxy, Beardsley, and Parexel knew that

an esteemed audit firm – whose Vice President was a former high-ranking FDA official – would

give Ranbaxy’s responses to the FDA a patina of legitimacy. Parexel agreed to fill this role,

knowing that the information transmitted to the FDA regarding its audits would be materially

misleading. In an effort to assist in concealing the complete audit results from the FDA, Parexel

agreed to allow its findings to be funneled through Beardsley. Parexel permitted its findings

regarding noncompliance and tainted ANDAs to be hidden from the FDA. All of this was done

so that those ANDAs could be approved. And Parexel agreed to, and did, make false statements

of fact to the FDA with the intent to further the scheme to defraud the FDA.

       336.    The Ranbaxy ANDA Enterprise engaged in and affected interstate commerce,

because, inter alia, it obtained approval to market – and in some cases did market – drugs that




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were sold to dozens of class members and consumed by thousands of individuals throughout the

United States, its territories, the District of Columbia, and the Commonwealth of Puerto Rico.

       337.    Defendants Ranbaxy Labs and Ranbaxy Inc. exerted control over the Ranbaxy

ANDA Enterprise, and Defendants Ranbaxy Labs and Ranbaxy Inc. participated in the operation

or management of the affairs of the Ranbaxy ANDA Enterprise, through a variety of actions,

including the following:

       a.      Recruiting Beardsley and Parexel to contribute to the operation of the enterprise,
               directing the actions of Beardsley and Parexel, and controlling what Beardsley
               and Parexel told the FDA, or did not tell the FDA;
       b.      Employing Beardsley and Parexel to confer upon the actions of the ANDA
               Enterprise an air of legitimacy;
       c.      Misrepresenting to the FDA the state of Ranbaxy’s cGMP compliance at its
               Paonta Sahib facility;
       d.      Misrepresenting whether and to what extent Ranbaxy was attempting to remedy
               its cGMP compliance issues;
       e.      Misrepresenting whether the cGMP compliance issues at Paonta Sahib affected
               the integrity of any data contained within US-filed ANDAs; and
       f.      Refusing to provide to the FDA – and directing Beardsley and Parexel to refuse to
               provide to the FDA – copies of audits performed by Parexel at the Paonta Sahib
               facility, because those audits would have belied Ranbaxy’s misrepresentations.

       338.    As detailed above, defendants Ranbaxy Labs’ and Ranbaxy Inc.’s fraudulent

scheme consisted of, inter alia: (a) manufacturing or otherwise falsifying data to be included

within ANDAs submitted to the FDA, in order to keep development costs down and expedite the

ANDA filing process so as to obtain valuable first-to-file status; (b) submitting, or causing to be

submitted, ANDAs containing materially false statements of fact and omissions of material

information; (c) deceiving the FDA, either directly or through another member of the Ranbaxy

ANDA Enterprise, regarding (i) whether Paonta Sahib was in compliance with cGMP

regulations, (ii) whether Ranbaxy was taking steps to bring Paonta Sahib into compliance with

cGMP regulations, or (iii) whether known violations of cGMP violations materially affected data

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submitted to the FDA in connection with various Ranbaxy ANDAs, including those for Diovan

and Valcyte; and (d) resisting, without a non-frivolous basis in law or fact, the FDA’s and the

government’s reasonable requests and administrative subpoenas for documentation likely to

establish the falsity of the statements by Defendants Ranbaxy Labs and Ranbaxy Inc., as well as

other members of the Ranbaxy ANDA Enterprise.

       339.    The scheme devised and implemented by defendants Ranbaxy Labs and Ranbaxy

Inc., as well as other members of the Ranbaxy ANDA Enterprise, amounted to a common course

of conduct intended to (a) deceive the FDA as to whether the Paonta Sahib facility was in

compliance with cGMP regulations, and whether Ranbaxy’s previously-submitted ANDAs were

truthful and in compliance with required regulations; and thereby (b) forestall or avoid adverse

regulatory action by the FDA; such that (c) Defendants Ranbaxy Labs and Ranbaxy Inc. could

fraudulently maintain their valuable first-to-file status for various Ranbaxy ANDAs, including

those for generic Diovan and Valcyte; to allow Ranbaxy to (d) exercise its market power and its

180-day period of exclusivity to improperly profit from the ANDAs.

       340.    Each such racketeering activity was related, had similar purposes, involved the

same or similar participants and methods of commission, and had similar results affecting similar

victims, including plaintiffs.

       341.    The pattern of racketeering activity alleged herein and the Ranbaxy ANDA

Enterprise are separate and distinct from each other. Defendants Ranbaxy Labs and Ranbaxy

Inc. engaged in a pattern of racketeering activity alleged herein for the purpose of conducting the

affairs of the Ranbaxy ANDA Enterprise.

       342.    As a result of defendants’ fraudulent activities, generic versions of drugs,

including Diovan, Valcyte, and Nexium, were kept off the market for longer than they would



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have been absent defendants’ fraudulent activities, resulting in increased costs to direct

purchasers of those drugs, including Plaintiff and all members of the class.

        343.    Plaintiffs and others similarly situated have been injured in their business and

property by reason of Ranbaxy’s fraudulent scheme and the success of the Ranbaxy ANDA

Enterprise. Plaintiffs and others similarly situated have paid hundreds of millions, if not billions,

of dollars, more for Diovan, Valcyte, Nexium, and the generic equivalents of those drugs, than

they would have in the absence of the fraudulent course of conduct underlying the Ranbaxy

ANDA Enterprise.

        344.    Plaintiffs’ injuries were proximately caused by defendants’ racketeering activity.

But for the misstatements made by Ranbaxy, Beardsley, and Parexel to the FDA, and the scheme

to (wrongfully) capture and maintain 180-day exclusivities as to generic Diovan, Valcyte, and

Nexium generic versions of these drugs would have been available for purchase sooner, resulting

in savings to plaintiffs and others similarly situated amounting to hundreds of millions, if not

billions of dollars.

        345.    Plaintiffs’ injuries were directly caused by defendants’ racketeering activity.

While Ranbaxy’s fraudulent statements were conveyed to the FDA, the FDA sustained no

damages to its business or property as a result of the fraud, and has no incentive to sue in RICO.

And although the Ranbaxy ANDA Enterprise was effectuated to give to Ranbaxy a wrongfully

obtained competitive advantage over its competitors, the harm alleged was suffered by plaintiffs,

not Ranbaxy’s competitors.

        346.    Plaintiffs and those similarly situated were most directly harmed by the fraud, and

there is no other plaintiff or class of plaintiffs better situated to seek a remedy for the economic

harms of Ranbaxy’s fraudulent scheme. In the pharmaceutical supply chain, direct purchasers –



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such as plaintiffs and those similarly situated – purchase prescription drugs directly from

manufacturers. The delay in availability of generic drugs occasioned by the fraudulent Ranbaxy

ANDA Enterprise caused a delay in the availability of safe, affordable generic drugs. As a

result, plaintiffs and those similarly situated paid for vastly more expensive brand name versions

of Diovan, Valcyte and Nexium long after a generic drug should have entered the market.

       347.     By virtue of these violations of 18 U.S.C. § 1962(c), defendants are liable to

plaintiffs for three times the damages Plaintiff has sustained, plus the cost of this suit, including

reasonable attorneys’ fees.

                COUNT FOUR - VIOLATION OF RICO, 18 U.S.C. § 1962(d)

               (Asserted Against Ranbaxy Labs, Ranbaxy Inc., and Sun Pharma)

       348.     Plaintiff repeats and incorporates by reference all preceding paragraphs and

allegations.

       349.     Section 1962(d) of RICO provides that it “shall be unlawful for any person to

conspire to violate any of the provisions of subsection (a), (b) or (c) of this section.”

       350.     Defendants Ranbaxy Labs and Ranbaxy Inc. have violated § 1962(d) by

conspiring to violate 18 U.S.C. § 1962(c). The object of this conspiracy has been to conduct or

participate in, directly or indirectly, the affairs of the § 1962(c) Ranbaxy ANDA Enterprise,

described previously, through a pattern of racketeering activity.

       351.     As demonstrated in detail above, Defendants’ co-conspirators – including but not

limited to Beardsley, Shepard, and Parexel – have engaged in overt and predicate fraudulent

racketeering acts in furtherance of the conspiracy, including material misrepresentations

designed to permit defendants to benefit pecuniarily from their fraudulently-filed ANDAs.




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         352.     The nature of Defendants’ co-conspirators’ acts, material misrepresentations, and

omissions in furtherance of the conspiracy gives rise to an inference that they not only agreed to

the objective of an 18 U.S.C. § 1962(d) violations of RICO by conspiring to violate 18 U.S.C. §

1962(c), but also that they were, and are, aware that their fraudulent acts have been and are part

of an overall pattern of racketeering activity.

         353.     As a direct and proximate result of Defendants’ overt acts and predicate acts in

furtherance of violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C. § 1962(c),

Plaintiff has been and continues to be injured in their business or property, as set forth more fully

above.

         354.     Defendants Ranbaxy Labs and Ranbaxy Inc. have sought to engage in, and have

engaged in, the commission of overt acts, including the following unlawful racketeering

predicate acts:

         a.       Multiple instances of mail fraud in violation of 18 U.S.C. §§ 1341 and 1346;
         b.       Multiple instances of wire fraud in violation of 18 U.S.C. §§1343 and 1346; and
         c.       Multiple instances of interstate and international travel in furtherance of aid of
                  racketeering, in violation of 18 U.S.C. § 1952.

         355.     Defendants have sought to engage in, and have engaged in, the violations of the

above federal laws and the effects thereof detailed above are continuing.

                     COUNT FIVE - VIOLATION OF SECTION 2 OF THE
                             SHERMAN ACT (15 U.S.C. § 2)

                (Asserted Against All Defendants as to esomeprazole magnesium)

         356.     The purchasers repeat and incorporate by reference all preceding paragraphs and

allegations.

         357.     As described above, from May 27, 2014 until at least January 26, 2015 (and with

effects lasting far longer), Ranbaxy possessed market power in the market for esomeprazole


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magnesium. No generic manufacturer, including Ranbaxy, sold any version of esomeprazole

magnesium tablets until January 26, 2015.

       358.    Ranbaxy willfully and unlawfully maintained its market power in the

esomeprazole magnesium market from May 27, 2014, through at least January 27, 2015, by

engaging in an anticompetitive scheme to keep generic equivalents from the market – not as a

result of providing a superior product, business acumen, or historical accident.

       359.    Ranbaxy knowingly and intentionally engaged in an anticompetitive scheme

designed to block and delay entry of other AB-rated generic versions of esomeprazole

magnesium to maintain its market power. This scheme included:

                   a. Filing, pursuing, and maintaining ANDAs based upon falsified
                      information;

                   b. Making repeated fraudulent statements to the FDA, with the specific
                      purpose, intent, and effect, of having the FDA rely upon those fraudulent
                      statements in allowing Ranbaxy to secure tentative and final approval for
                      its ANDAs; and

                   c. Using its fraudulently obtained first-to-file exclusivity to keep other
                      generic manufacturers out of the market.

       360.    By means of this scheme, Ranbaxy intentionally and wrongfully maintained

market power with respect to esomeprazole magnesium in violation of Section 2 of the Sherman

Act. As a result of this unlawful maintenance of market power, the purchasers and members of

the class paid artificially inflated prices for esomeprazole magnesium.

       361.    The purchasers and members of the class have been injured in their business or

property by Ranbaxy’s antitrust violations. Their injury consists, inter alia, of having paid, and

continuing to pay, higher prices for their Nexium tablet requirements than they would have paid

in the absence of those violations. Such injury is of the type antitrust laws were designed to




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prevent and flows from that which makes Ranbaxy’s conduct unlawful, and the purchasers and

the class are the proper entities to bring a case concerning this conduct.

       362.    Ranbaxy’s anticompetitive conduct is not entitled to qualified Noerr-Pennington

immunity.

       363.    Ranbaxy engaged in a knowing, direct fraud against a governmental entity (the

FDA), which was empowered to grant a period of market exclusivity (180-days market

exclusivity to the first generic filer to submit a substantially complete ANDA, so long as that

generic filer obtained tentative approval within 30 months of filing). Through a series of

misrepresentations, fraud, and deceit, Ranbaxy was able to deceive the FDA into believing that

Ranbaxy’s manufacturing and production operations were in compliance with applicable

regulations, and that its data was reliable when Ranbaxy knew that this was not true. In reliance

upon these fraudulent statements, the FDA granted Ranbaxy a period of exclusivity to which it

was not lawfully entitled. And, Ranbaxy asserted this wrongfully-obtained exclusivity to

exclude completion from the marketplace.

       364.    Ranbaxy knowingly and intentionally engaged in sham petitioning before the

FDA, making repeated misstatements concerning, inter alia, its manufacturing facilities,

compliance with cGMP, and the reliability of its data, all designed to intentionally and

deceptively convince the FDA to grant Ranbaxy first-to-file exclusivity, which it intended to,

and did, use to keep (a) all generic competition (including itself) out of the market for an

extended period of time, and (b) other generic competitors off the market for at least an

additional 180 days.

       365.    For each ANDA Ranbaxy filed, Ranbaxy knew at the time it filed that it had no

realistic likelihood of success; that is, no realistic likelihood that the FDA would, absent



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fraudulent conduct on the part of Ranbaxy, accept the ANDA as being substantially complete

and in compliance with applicable regulations. And for each ANDA Ranbaxy maintained,

Ranbaxy knew that it had no realistic likelihood of success; that is, no realistic likelihood that

that the FDA would, absent Ranbaxy’s fraud, grant tentative or final approval to the ANDA.

         366.   Ranbaxy knew, therefore, that no reasonable pharmaceutical manufacturer would

have believed it had a reasonable chance of ultimately succeeding on the merits of its ANDA

filings. Ranbaxy filed these ANDAs for the purposes of using a governmental process

(including the 180-day exclusivity associated with the FDA’s acceptance and tentative approval)

as an anticompetitive weapon to keep other generics off the market.

                              XI.     DEMAND FOR JUDGMENT

         WHEREFORE, Plaintiff, on behalf of itself and the Class, respectfully requests that the

Court:

         A.     Determine that this action may be maintained as a class action pursuant to Federal
                Rules of Civil Procedure 23(a) and (b)(3), and direct that reasonable notice of this
                action, as provided by Federal Rule of Civil Procedure 23(c)(2), be given to the
                class, and declare Meijer and CCI as representatives of the class;

         B.     Conduct expedited discovery proceedings leading to a prompt trial on the merits
                before a jury on all claims and defenses;

         C.     Enter joint and several judgments against the defendants and in favor of Meijer,
                CCI, and the class;

         D.     Award the class damages (i.e., three times the amount they were injured and/or
                three times the damage attributable to the racketeering activity) in an amount to
                be determined at trial, plus interest in accordance with law;

         E.     Award Meijer, CCI, and the class their costs of suit, including reasonable
                attorneys’ fees as provided by law; and

         F.     Award such further and additional relief as is necessary to correct for the
                anticompetitive market effects caused by the defendants’ unlawful conduct, as the
                Court may deem just and proper under the circumstances.



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                                     XII.   JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, Meijer and CCI, on behalf of themselves

and the proposed class, demand a trial by jury on all issues so triable.

Dated: April 18, 2019.                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I, Gregory T. Arnold, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access these filings through the Court’s system, and

notice of these filings will be sent to these parties by operation of the Court’s electronic filing

system.


Dated: April 18, 2019                                  /s/ Gregory T. Arnold
                                                       Gregory T. Arnold




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